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                           Exhibit 5:
                Dr. J.J. Prescott Expert Report
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                                Does III v. Whitmer
                    EXPERT REPORT/DECLARATION OF
                      JAMES J. PRESCOTT, J.D., PH.D.
   I, James J. Prescott, J.D., Ph.D., state under penalty of perjury as follows:

I. Background, Education, and Qualifications

   I am the Henry King Ransom Professor of Law at the University of Michigan
Law School in Ann Arbor, Michigan, where I have been teaching since 2006. I
also have an appointment in the Economics Department at the University of Mich-
igan, and I co-direct the Law and Economics Program and the Empirical Legal
Studies Center at the Law School. I received my Ph.D. in Economics from the
Massachusetts Institute of Technology in 2006. I earned my J.D. magna cum laude
from Harvard Law School in 2002 and my B.A. in Public Policy and Economics
with honors and distinction from Stanford University in 1996.
   Much of my work (which is primarily empirical) centers on the consequences
of post-release laws for people convicted of sex offenses. I am most interested in
the effects that sex offender registration and community notification laws have on
sexual offending behavior. I have also written on what we know (and do not know)
about sex offense recidivism. I have attached my CV, which lists my publications
(including those from the past ten years) as well as cases in which I have testified
as an expert. My CV also provides further details on my expertise and experience,
including a list of institutions and conferences at which I have presented my
research on measuring the effects of sex offender registration and notification laws.
   Several notable opinions addressing sex offender registration and notification
laws have cited my research, including in Michigan courts and with respect to
Michigan laws. See, for example, Does #1-5 v. Snyder, 834 F.3d 696, 704 (6th Cir.
2016); People v. Betts, __ Mich. __, Mich. Sup. Ct. No. 148981, 2021 WL
3161828, at *15 (Mich. July 27, 2021); State v. Hubbard, No. 2020-0544, 2021
WL 4898587, at *25–26 (Ohio Oct. 21, 2021).
   Also, I have just completed co-editing (as well as writing a portion of) a
collected volume summarizing the state of empirical evidence on sex offender
registration and notification laws. Released earlier this year by Cambridge
University Press, the book includes cutting-edge views of researchers in the field. 1

   1
   Logan, Wayne A., & J.J. Prescott, eds., SEX OFFENDER REGISTRATION AND
NOTIFICATION LAWS: AN EMPIRICAL ASSESSMENT (Cambridge Univ. Press) (2021),


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In one of the central chapters, along with my regular collaborator, Amanda Agan, I
collect and describe at length virtually all credible empirical scholarship (through
early 2021) examining the effects on criminal behavior (specifically, recidivism) of
sex offender registration and notification laws. 2 The report that follows is organ-
ized around my own original research on the consequences of sex offender regis-
tration and notification laws. But my opinion, summarized below, is informed
more broadly by my expertise on the extensive body of scholarship on the ques-
tions relevant to this case.

II. Summary of Research Findings

    All of what we know about Sex Offender Registration and Notification (SORN)
laws suggests that such laws do not serve their stated purpose of lowering the risk
of recidivism, reducing the total number of sex offenses, or making communities
safer. To wit:
   • States enacted and implemented registration and notification laws with no
     sustained or rigorous study of their likely consequences, often doing so in
     response to public outcry and anger following a particularly heinous crime
     covered at length by the media.
   • Many states, including Michigan, impose post-release laws on the basis of
     the crime of conviction, regardless of whether the registrant presents any
     risk to anyone and without any attempt to use accurate and cost-effective
     risk assessment protocols.
   • States defend these laws as attempts to combat sex offense recidivism and to
     make the public safer, but the scientific evidence is nearly unanimous that
     notification laws (and likely other types of affirmative restraints) do not
     reduce recidivism. This conclusion derives from a significant body of empir-
     ical work that has examined the behavior of people convicted of sex offenses
     and the consequences of SORN laws on recidivism.
   • This body of scholarship is consistent with my own research, which shows
     that, at best, public registration and other affirmative restraints do not


https://www.cambridge.org/core/books/sex-offender-registration-and-community-
notification-laws/5E3B30A35C5D3CF518C9EDEEF4589BA9.
   2
     See Agan, Amanda Y., & J.J. Prescott, “Offenders and SORN Laws,” in SEX
OFFENDER REGISTRATION AND NOTIFICATION LAWS: AN EMPIRICAL ASSESSMENT
(Logan, Wayne A., & J.J. Prescott, eds.) (Cambridge Univ. Press) (2021), 102–44,
http://www.dropbox.com/s/ypdki9picqizsr3/Chapter_7_Agan_Prescott_2021.pdf.

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      improve recidivism rates, and they may well be counterproductive, that is,
      they may increase recidivism. The complex burdens that registrants face in
      Michigan and in states with similar laws limit their ability to succeed post-
      release and increase the risk of re-offense.
   • Although perhaps counterintuitive at first blush, this conclusion is not
     surprising. Sex offender laws as they are currently constructed in Michigan
     and elsewhere place substantial burdens on every registrant, not just those
     with a high risk of recidivism. These burdens include the public stigma of
     widespread notification on top of de facto housing and employment limita-
     tions, as well as frequent registration requirements. These added hurdles
     likely add to the risk of recidivism, not reduce it.
   • Despite this research, most of these laws and their amendments remain non-
     evidence-based and do not reflect our current understanding (from decades
     of research) of how registrants behave or what we know works and does not
     work in reducing recidivism risk.
   • Furthermore, research demonstrates that SORN laws like Michigan’s are
     financially costly for states and local governments to enforce, create a great
     deal of useless fear among members of the public, and are financially,
     physically, and emotionally burdensome to registrants and their families,
     which itself may increase recidivism risk.
   • Finally, we know from well-validated research that there are alternative
     approaches to reducing recidivism involving treatment and targeted risk
     assessment. These strategies are evidence-based. When faced with effective
     alternatives, the use of ineffective or counterproductive registration and
     community notification laws like Michigan’s defies reason and is very hard
     for experts in the field to understand.

III. Introduction to the Research

   This report addresses a central question in the Does III litigation: What effects
do sex offender registration and notification (SORN) laws like the one in Michigan
have on sex offense recidivism?
   1. As to community notification—posting registrants and their information on a
publicly accessible website—there is a clear scholarly consensus that such notifica-
tion laws do not work to reduce sex offense recidivism. In fact, as I explain below,
there are very good reasons to think that, based on the data we have and existing
empirical analyses, these laws increase sex offense recidivism by exacerbating



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recidivism risk factors. While this counterproductive result may seem counter-
intuitive (as it was to me initially), it should not be surprising upon reflection.
Community notification laws make registrants’ lives very difficult: they make
securing and keeping gainful employment and stable housing challenging. These
aspects of life are well-documented to be important to explaining recidivism
patterns. Essentially, returning to “normal” life for individuals on public registries
is nearly impossible. In a nutshell, the evidence indicates that the recidivism-
increasing effects of community notification laws at the very least offset and may
even overwhelm whatever public safety benefits such laws might offer (if any).
   2. In work released earlier this year (see the Cambridge University Press
volume that I edited with Wayne Logan, cited above), Amanda Agan and I
describe this consensus on the effects of SORN laws on sex offense recidivism,
concluding:
      Dozens of studies to date have sought to assess whether and how SORN
      laws affect sex offense recidivism. Multistate studies—some national
      in scope—using federal crime data and deploying panel data methods
      or time-series approaches have found no evidence that notification
      reduces recidivism and some evidence that it may increase recidivism.
      In single-state studies, using many different empirical research tools
      and data sources and examining different measures of recidivism in
      different jurisdictions (including Arkansas, D.C., Florida, Iowa,
      Maryland, Minnesota, New Jersey, New York, North Carolina, South
      Carolina, Texas, and Wisconsin), researchers from different
      disciplines, working independently, have essentially all failed to detect
      any evidence that notification reduces recidivism. The sole exception
      to this scholarly consensus is Duwe and Donnay (2008), who, using a
      small sample of potential recidivists, in a jurisdiction (Minnesota)
      employing an atypical, narrow, individual risk-based approach, find at
      least some non-trivial evidence that notification may reduce recidivism.

    3. It is possible to criticize some aspects of the studies finding public registries
ineffective that I review in the chapter (indeed, I discuss many of these criticisms
myself), but it is nevertheless the case that where one study is weak, another is
strong—and together, they form a convincing body of scholarship that tells a
coherent and scientifically satisfying account of the general inefficacy of SORN
laws (including the possibility that SORN laws may increase sex offense recid-
ivism). Below, I describe how my own research aligns with this consensus, but
there are many, many other studies that come to the same critical conclusion: that
registration and notification laws, despite being expensive to enforce, do not


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appear to offer anything in terms of public safety. This substantial body of
scholarship is referenced at length in my chapter with Agan, which is cited above.
    4. Although I do not focus on the argument in this declaration, it is worth
emphasizing that baseline sex offense recidivism rates, whether high or low, are
irrelevant to the central question whether SORN laws are effective at reducing
recidivism. The evidence in general supports the view that baseline sex offense
recidivism rates are quite low. 3 And yet, whatever the actual recidivism rate, the
evidence indicates that SORN laws either do not change the rate (at best) or actual-
ly make recidivism worse, and concerns about under-reporting do not change this
conclusion. SORN laws simply do not reduce the risk that someone will sexually
reoffend, whether that risk is high or low. The idea that sex offense recidivism
rates may be higher than what experts assert just confuses the most important
policy question.

IV. The Effects of Sex Offender Laws on Recidivism

   5. Rather than reducing recidivism, my research indicates that notification laws
may well have increased (and almost certainly have not reduced) the frequency of
sex crimes committed by individuals previously convicted of a sex offense. 4 I
present this research in three parts (A, B, and C of this section). First, I report the
empirical results of my own research and explain their implications for evaluating
Michigan’s sex offender registration and notification laws. I focus on community
notification’s effects. Second, I describe the data and empirical methodology I use
in my research to help the Court and others understand the inferences I draw and
the robustness of the findings to alternative interpretations. Third, I explain how
community notification (and, by implication, other burdensome post-release laws
that share similar characteristics—like requiring the reporting of vast amounts of
information, or imposing travel limitations, or residency restrictions), although



   3
     Lave, Tamara Rice, J.J. Prescott, & Grady Bridges, “The Problem with
Assumptions: Revisiting the Dark Figure of Sexual Recidivism,” Behav. Sci. & the
Law, 39(3) (2021), 279–306, https://papers.ssrn.com/sol3/papers.cfm?abstract_
id=3906329 (explaining why claims that unreported recidivist sex crimes are
pervasive are empirically unfounded).
   4
     See Prescott, J.J., & Jonah E. Rockoff, “Do Sex Offender Registration and
Notification Laws Affect Criminal Behavior?,” Journal of Law and Econ., 54
(2011), 161–206, http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1100663.

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intended to make communities safer, may actually put people at greater risk of
becoming victims.

   A. The Recidivism Consequences of Registration and Notification Laws

   6. Registration and notification laws have the potential to influence sex
offending behavior in two primary ways. First, potential first-time sex offenders
(or nonregistrants more generally) could become less likely to commit sex offenses
because they fear having registration and notification laws applied to them in the
future if they are caught and convicted. I refer to this behavioral response as
“deterrence.” Second, individuals previously convicted of sex offenses who are
presently subject to registration and notification laws could become less likely to
commit additional sex offenses if these laws make doing so harder—by increasing
the difficulty of committing a crime or the chance of detection—or by somehow
mitigating risk factors that cause individuals to recidivate. I term this response
“recidivism reduction.”
    7. With respect to reducing the recidivism of individuals previously convicted
of sex offenses, the results of my research do not support the use of community
notification (i.e., public registries). But my results do provide some support (with
the caveats detailed below) for the use of private registries to help the police and
other authorities monitor individuals previously convicted of sex offenses. I
discuss these latter findings on the effects of private registration briefly for
completeness and in the interest of full disclosure, but Michigan has a public
registration system. 5 The somewhat mixed picture on the costs and benefits of
private registration to reducing recidivism cannot justify Michigan’s public
registration scheme.
   8. Private Registration: To begin with, I find no discernible deterrent effect of
private (law enforcement only) registries on nonregistrants (i.e., potential sex
offenders). This is not surprising—in the 1990s, private registries allowed only the
police or other state officials to learn of a conviction. As a result, there was little
public shame (so long as records remained confidential), and the burdens of
complying with registry requirements were very low by comparison with today’s
time-consuming, difficult, and expensive obligations (for example, today, SORN


   5
     Under Michigan’s registration statute, only a small number of registrants are
on a non-public registry, namely persons adjudicated as juveniles, MCL §§
28.728(4)(a)-(b), and some but not all individuals classified at “Tier I” based on
the offense of convictions, MCL § 28.728(4)(c).

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compliance in Michigan requires in-person re-registration within three business
days of a change in residence, academic status, and/or employment status).
    9. With respect to the effect of private registries on recidivism, I fail to find any
reliable evidence that they reduce crimes against victims who are strangers to the
registrant. I do uncover evidence that private registries may decrease recidivism
against victims who are “closer” to the registrant (e.g., family members, neighbors,
and acquaintances), but it is possible that some of this reduction may be explained
by the statistically insignificant increase in recidivism against victims who are
strangers that I identify—i.e., private registries may partly displace crime else-
where but not reduce it overall.
   10. There are two further caveats critical to understanding my findings regarding
private registries. First, although there is very little work on the recidivism effects
of private registration, at least two studies have been unable to confirm any recid-
ivism-reduction effects. Specifically, Bouffard and Askew (2019) and Agan (2011)
both fail to detect any evidence that private registration reduces recidivism. 6
Second, because research on private registration focuses on laws from the 1990s,
care must be taken in extrapolating to present-day regimes re-imagined as private
registries. Leaving aside the fact that registration information is now almost entire-
ly public in Michigan (and in all states for at least some registrants) and so the
effects of private registration are irrelevant, the procedures and requirements of
registration in the 1990s were significantly less burdensome in time and money,
and in terms of the difficulty of compliance, than they would be if a “private
version” of the average public registry were implemented today.
   11. Community Notification: With respect to community notification laws like
those employed in Michigan, however, I discover a different pattern. The threat of
becoming subject to a community notification regime—and the shame and colla-
teral effects that accompany being publicly identified as a “sex offender”—appear
to have a measurable deterrent effect (i.e., it reduces offenses) by nonregistrants.
But, once I consider the number of registrants, I find that the more people a state
subjects to community notification, the higher the relative frequency of sex

   6
    Bouffard, Jeff A., & LaQuana N. Askew, “Time-Series Analyses of the
Impact of Sex Offender Registration and Notification Law Implementation and
Subsequent Modifications on Rates of Sexual Offenses,” Crime & Delinquency,
65(11) (2019), 1483–512, https://journals.sagepub.com/doi/10.1177/0011128
717722010; Agan, Amanda Y., “Sex Offender Registries: Fear without Function?,”
Journal of Law and Econ., 54 (2011), 207–39, https://www.journals.uchicago.
edu/doi/pdfplus/10.1086/658483.

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offenses in that state. These results are highly statistically significant. Thus, it is
very unlikely that these laws are reducing recidivism by registrants; instead, it is
probable that these laws are actually increasing recidivism (that is, that the laws
are causing positive harm).
   12. Specifically, I find a 0.86% increase in the number of sex offenses per year
for every additional registrant per 10,000 people in a state with a notification
regime in place. Using the average registry size across our sample of states, this
practically and statistically significant increase in recidivism by registrants more
than offsets the estimated gains from the deterrence of crimes by nonregistrants.
On balance, for states with average-sized registries, I calculate that notification
laws lead to an additional 0.144 sex offenses per 10,000 people (relative to the
number of offenses that would have occurred with only a private registration law in
place). If Michigan were a “typical” jurisdiction in terms of the per capita number
of registrants it chose to subject to notification, these findings would translate to
between 100 and 200 additional sex offenses per year in the state.
   13. Michigan, however, has one of the largest public sex offender registries in
the country, 7 which means the recidivism-increasing effects of community notifi-
cation are likely to be even larger in magnitude. At registry sizes like Michigan’s
in 2021 (conservatively estimated at more than 34 registrants per 10,000
individuals in the state), notification-generated increases in recidivism are highly
likely to dwarf any plausible deterrence gains, pointing to higher overall sex
offense rates than would exist in a state without a community notification law,
possibly as much as 5% higher. This increase in total sex offenses would be net of
any reductions in sex offenses by first-time offenders that notification laws may
deter. This is true even using conservative assumptions designed to put notification
in a favorable light. Put simply, existing evidence suggests that it is likely that, far
from reducing sex offense recidivism, Michigan’s notification law is actively
increasing the total number of sex offenses each year in the state.


   7
     In a recent filing in Does #1-6 v. Whitmer, 16-cv-13137, Dkt. 127, PageID.
2589 (E.D. Mich.), the state indicated that there were 35,049 active registrants,
10,627 incarcerated registrants, and 9,632 nonresident registrants. In the calcu-
lations I make in the text, I use 35,049 as a conservative (small) estimate of the
size of Michigan’s registry, excluding registrants who are not currently living in
the community either because they are incarcerated or because they have moved
out of state. I use 10.05 million as an estimate of the total population in Michigan
in 2021, https://www.census.gov/quickfacts/fact/table/MI (visited on Dec. 23,
2021).

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   14. The results of my work are rooted in comparisons of sex offense frequencies
over time and across states. It is worth noting that Michigan’s laws and criminal
offense and other data are included in my analysis. I carefully control for inherent
geographic, economic, and social differences and trends over time. Changes in
national mood, for example, would not generate the patterns the data reveal; one
also cannot account for the study’s findings by arguing that states with large
registries are just different from other states. For one, I control for county-level
demographics and income over time and for other crime rates (e.g., the frequency
of non-sex crimes generally as well as the frequency of assaults). Therefore, when
public registries grow, even relative to other kinds of crime, the number of sex
offenses rises under notification. For another, even within a state, if the number of
registrants grows faster than average (relative to other states), sex offenses also
increase relatively faster than average.
   15. Unfortunately, my research on community notification suggests the total
number of sex offenses will continue to grow as Michigan’s public registry itself
continues to grow in size. The application of community notification to a larger
group of people will likely result in additional sex offenses (through more crime
from greater recidivism), and this growth will increasingly outweigh any fixed
gains that might occur through the deterrence of nonregistrants. Likewise, policy
changes that contribute to larger public registries by making registration a conse-
quence of more statutory offenses, by allowing it to apply to earlier convictions,
etc., are also likely to generate more total sex offenses.
   16. My work’s conclusions that notification does not reduce recidivism and may
increase it are not alone. In fact, my results align with the established consensus
view of experts in the field. For example, Agan’s (2011) research largely tracks my
findings. She observes that individuals subject to notification laws are, if anything,
more likely to be re-arrested for a sex offense than those who are not. 8 One might
imagine this finding as consistent with an increase in sex offense detection, but on
balance, the evidence is more consistent with the increase in arrests as evidence of
elevated recidivism. Michigan was also among the states in Agan’s sample.
   17. Perhaps more important, my findings reflect the conclusions of virtually all
careful and serious empirical work in this field. In my very recent review of rele-
vant literature for my edited volume with Wayne Logan, I report that dozens of
studies to date have sought to assess whether and how registration and notification
laws affect sex offense recidivism. Multistate studies—some national in scope—

   8
    Agan, Amanda Y., “Sex Offender Registries: Fear without Function?,”
Journal of Law and Econ., 54 (2011), 207–239, https://doi.org/10.1086/658483.

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use federal crime data and deploy panel data methods or time-series approaches.
None of them uncovers evidence that notification reduces recidivism, and some
offer at least tentative evidence that it may increase recidivism. In single-state
studies, using many different empirical research tools and data sources and
examining different measures of recidivism in different jurisdictions (including
Arkansas, D.C., Florida, Iowa, Maryland, Minnesota, New Jersey, New York,
Pennsylvania, South Carolina, Texas, and Wisconsin), researchers from different
disciplines, often working independently, have essentially all failed to uncover any
evidence that notification reduces recidivism. 9 Thus, my work in both empirically
researching the effects of registration and notification laws and comprehensively
compiling what we know about them, along with virtually all other relevant
empirical research, strongly undermines the case that notification laws actually
combat recidivism.
   18. Notification also does not appear to make it more difficult for registrants to
commit new crimes. This pattern is at odds with the underlying theory that publicly
identifying individuals previously convicted of sex offenses will alert potential
victims to the presence of “nearby” potential recidivists and allow these potential
victims to engage in precautionary behavior to protect themselves (see part 3.C
below). Specifically, I find nothing to indicate that notification laws generate
different increases in the frequencies of sex offenses against each type of victim—
i.e., against family members, neighbors, acquaintances, or strangers. If community
notification were increasing the difficulty of committing a crime against a friend,
neighbor, or acquaintance in a systematic way (versus a complete stranger, for
example), we would expect to see differences in frequency growth across
categories of victims. Instead, there is no evidence that neighbors and acquaint-
ances have benefited even in a relative sense from community notification laws in

   9
     The sole exception to this scholarly consensus is Duwe and Donnay (2008),
who, using a small sample of potential recidivists, in a jurisdiction with an atypi-
cal, narrow, individual risk-based approach that looks nothing like Michigan’s,
find at least some non-trivial evidence that notification may reduce recidivism. See
Duwe, Grant, & William Donnay, “The Impact of Megan’s Law on Sex Offender
Recidivism: The Minnesota Experience,” Criminology, 46(2) 2008, 411–446,
https://doi.org/10.1111/j.1745-9125.2008.00114.x. There has been little research
comparing risk-based versus conviction-based registration schemes, but it is worth
noting that the only research showing any reduction in recidivism after implemen-
tation of a notification scheme involved a risk-based registry. There is not, to my
knowledge, a single study showing that a conviction-based registry—such as the
one in Michigan—reduces recidivism.

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terms of reduced victimization risk, suggesting that the primary hypothesis in
support of notification laws is at best questionable.

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   19. The evidence, according to both my research and to the vast majority of
experts in this field, is clear on the effects of these post-release laws on sex offense
recidivism: community notification laws do not appear to be effective at reducing
recidivism; if anything, they increase it. The many burdens registrants experience
when subject to notification—the extreme notoriety that accompanies it, and the
poor and unstable housing and employment and the difficulty of reintegrating into
society that emanate from it—go a long way toward making sense of why my
research finds notification laws are associated with increases in recidivism.

   B. Empirical Methodology for Identifying the Effects of Notification

   20. Because the effects of these laws depend a great deal on how they are
structured (see part 3.C below), and because the states and the federal government
passed these laws with no in-depth investigation of their likely consequences, my
research employs well-known federal crime data covering many states over many
years and standard empirical methods to generate reliable evidence on both how
these laws influence recidivism levels and, even if crime frequency remains
unaffected, how these laws alter sex offending behavior more generally.
   21. My approach builds on the fact that notification laws are designed to reduce
recidivism by making individuals who are located “near” potential recidivists (like
neighbors, acquaintances, etc.) safer by providing any potential victim with
supposedly useful identifying information about individuals previously convicted
of a sex offense who might pose a threat. Therefore, if notification works as its
proponents suggest, we would expect to see relatively fewer offenses against
neighbors and acquaintances under a notification regime. To test this empirical
hypothesis, I made use of the federal government’s National Incident-Based
Reporting System (NIBRS) data, the only high-quality, multi-state crime data with
details about offender-victim relationships.
   22. NIBRS is a relatively new data collection effort, with only a few states
participating at the outset in the early 1990s. As registration and notification laws
were enacted primarily in the 1990s, I selected the 15 states that were participating
in NIBRS as of 1998: Colorado, Connecticut, Idaho, Iowa, Kentucky, Massachu-
setts, Michigan, Nebraska, North Dakota, Ohio, South Carolina, Texas, Utah, Ver-
mont, and Virginia. This is a fairly representative group of states, both geographic-
ally and in terms of the evolution of their sex offender legislation. To enhance the

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reliability of my work, I limited my analysis to states that were part of NIBRS by
1998 to be sure that I had data for a significant period of time both before and after
the states enacted their notification laws. I conducted my analysis using NIBRS
data through 2005, which translates to more than 10 years of data for some states
and at least 7 years for all states.
   23. Next, I collected the content and timing of the registration and notification
laws in each of these 15 states. I conducted painstaking legal analysis for more
than a year to identify the precise times that statutes were enacted and when each
became effective and operational. (Because NIBRS crime data are collected by
month, I am able to make use of these precise legal details in my empirical work.)
In coding these laws, I was careful to distinguish between private registration and
community notification (i.e., public registration) because the two approaches are
meant to function in very different ways. I was also careful in how I characterized
each notification law, as the content of these laws varies across states and over
time. For example, early notification laws allowed the public merely to access
paper registries; eventually, all notification laws required that data for many regis-
trants be posted to publicly accessible internet web-registries. Some states also
enacted “active” notification laws under which public employees (e.g., police
officers) were required to take affirmative steps to make sure individuals deemed
to be at-risk (e.g., neighbors) were informed of relevant released individuals, for
example, by written notice or a personal visit by a police officer.
  24. My research also took into account whether these laws had discretionary or
mandatory features as they evolved over time. Finally, with respect to internet
registries, I conducted a separate investigation to determine not only when each
web-registry law became effective but also when each site became operational in
fact and mostly complete in its coverage.
   25. With data on individual sex offense incidents by county for 15 states
(including Michigan) over many years, I was able to conduct a fairly straightfor-
ward “program evaluation” had I wished to go that route. In effect, using multiple
regression analysis, I could have proceeded by examining how the frequency of
sex offenses (and the types of sex offenses—in particular, the frequency of sex
offenses between neighbors or acquaintances) changed in response to the imple-
mentation of registration and notification laws. With 15 states and a long stretch of
years, I had the ability to control for national trends or a trend over time in a single
state (one that might affect the number of sex offenses at just around the time a
state passed a sex offender law) to ensure that neither was confounding the results
of the research. These data allow me, for example, to account for state-specific
trends in the number of sex offenses as well as trends in other crime levels.


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   26. If I had been interested purely in whether registration and notification laws
reduced sex crime on the whole, this empirical strategy would have been the appro-
priate approach. But these laws have been defended as attempts to reduce recid-
ivism by registrants specifically, not merely as additional deterrents to “potential”
first-time offenders or nonregistrants. As described above, public registration laws
could theoretically reduce new sex offenses in one of two ways: (1) by deterring
nonregistrants (i.e., those who wish to avoid, for example, the burdens and shame
of being subject to notification should they be caught and convicted), and (2) by
reducing the recidivism of registrants by providing information to the public,
thereby facilitating precaution-taking and monitoring. I designed my research to
assess each of these policy-relevant possibilities individually. Separately identify-
ing and measuring these two hypothetical consequences of notification laws is
essential but also difficult to do with comprehensive federal crime data because
these data do not indicate whether a crime was committed by a registrant (recidiv-
ism) or instead by a nonregistrant (new offender).
   27. My research solved this problem in an intuitive way. Although I, too, was
unable to observe whether a crime in my data was committed by a registrant or by
someone who was not subject to registration, I made use of the following simple
fact: registration and notification laws cannot reduce (or increase) the frequency of
sex offenses through changes in recidivism levels (by, for example, improving
police and public monitoring or by informing potential victims of nearby threats)
when nobody or only a few individuals previously convicted of a sex offense are
subject to these laws—i.e., when registries are close to “empty.” On the other
hand, registration and notification laws can, in theory, reduce the frequency of sex
offenses even when registries are “empty” by deterring nonregistrants who fear
becoming subject to these laws in the future if they are convicted of committing an
eligible sex offense.
   28. I extend this logic in my research to take advantage of the significant varia-
tion in retroactive coverage of registration and notification laws across states. This
coverage variation resulted in dramatic differences in the numbers of covered
individuals as these laws became effective: some states applied their laws only
prospectively; others made them retroactive, applying them to individuals convic-
ted and/or released over a range of different time frames. Accordingly, as states
began to enforce their registration and notification laws, some states had large
registries while others had empty or nearly empty registries.
   29. To operationalize this idea, I collected registry size data for each state at
different points in time and used county-level registry sizes in August 2007 to
estimate the size of the registry in each county for each month. In effect, I studied


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how county patterns in the number and type of sex offenses vary with my measure
of registry size over time. If these laws work to reduce recidivism as proponents
assert, one would expect to see that counties with larger registry sizes had greater
relative reductions in the number of sex offenses, all else equal (i.e., after control-
ling statistically for other differences across counties, states, and time—crime rates
and how they change, demographics and how they change, national trends and
shocks, etc.). This pattern is not what I found, however.

  C. How Notification Laws Can Increase Recidivism

   30. The conclusion of my research that notification appears to increase recidiv-
ism (see part 3.A) may seem counterintuitive at first blush. After all, community
notification (i.e., the active identification of individuals previously convicted of sex
offenses through public registries) is designed to alert potential victims to the
threat a nearby registrant may pose so that they may engage in precautionary
behavior and/or monitor the registrant. But, for this approach to reduce the
recidivism levels of registrants, two separate conditions must be met.
   31. First, for notification laws to reduce recidivism, public identification (along
with other affirmative restraints placed on registrants) must make it more difficult,
on average, for a potential recidivist to commit a sex crime. This condition, in turn,
requires (1) that individuals who are likely to be victimized must be newly
informed of a registrant’s status as a result of the operation of the community
notification law, (2) that potential victims are newly capable of acting in ways that
reduce their exposure to victimization by the registrant or that the registrant at risk
for committing a new sex offense is newly unable to access the potential victim,
and (3) that the registrant at risk of committing a new sex offense will not discover
an alternative victim nearby who is either unaware of the registrant’s criminal
history or is unable to act on the basis of that information to eliminate (or reduce
by a lot) the risk of becoming a victim.
   32. These conditions seem unlikely to hold in the vast number of cases. As
ample research demonstrates, offenders are rarely strangers to their victims. In fact,
the vast majority of sex offenses occur within the context of an existing familial or
other social relationship. Importantly, friends and family members of people
previously formally convicted of sex offenses will often already be aware of a
potential recidivist’s criminal history, meaning that registry information will be
irrelevant to this group of potential victims. Even if the information is news to a
potential victim, and even if the victim can reduce her exposure, which research




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shows may happen rarely, 10 or if the registrant is prevented from accessing some
victims, a registrant who becomes a risk for reoffending will likely be able to find
other potential victims.
   33. Second, for notification to reduce recidivism, these laws must avoid aggra-
vating the risk factors that significantly increase a registrant’s chance of reoffen-
ding. Even if notification and other affirmative restraints were to succeed at
making it more difficult for registrants to reoffend, recidivism might still increase:
after all, the difficulty of committing a crime is only one factor, among many,
affecting a registrant’s likelihood of recidivating. Publicly identifying an individual
as a “sex offender” (as well as imposing other significant burdens, as Michigan
does, for example, through frequent reporting requirements, etc.), by contrast,
influences many of these factors by dramatically changing a registrant’s daily life,
future prospects, and psychological and financial burdens. Although proponents
argue, without evidence, that laws that impose restraints and/or burdens on a
registrant might reduce recidivism if such laws make the commission of crime
more difficult or if they mitigate risk factors, SORN laws in fact seem highly likely
to increase recidivism because they exacerbate risk factors (e.g., unemployment,
unstable housing) that are known to contribute to reoffending.
   34. In sum, notification regimes, with their attendant registration burdens, are
much more likely to increase the likelihood that affected individuals return to
crime, all else being equal. These laws and their application exacerbate recidivism
risk factors in significant and visible ways. On the basis of many compelling
empirical studies (and no contrary evidence to speak of), scholars agree that
publicly identifying individuals who were previously convicted of sex offenses
makes it more difficult for these individuals to find employment and housing. Life
as a registrant, by all accounts, is simply much more difficult than it otherwise
would be—in no small part because of the operation of comprehensive sex
offender post-release laws.
   35. Notification schemes (as well as other post-release sex offender restrictions)
are intended to reproduce an upside of incarceration, essentially by “incapacita-
ting” potential recidivists as if they were still in prison. Community notification
and other affirmative restraints attempt to create a barrier between registrants and
potential victims. Unfortunately, the analogy of post-release laws to prison is too

   10
      See, e.g., Anderson, Amy L., & Lisa L. Sample, “Public Awareness and
Action Resulting from Sex Offender Community Notification Laws,” Criminal
Justice Policy Review, 19(4) (2008), 371–396, https://journals.sagepub.com/doi/
10.1177/0887403408316705.

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apt: the public identification of individuals as “registered sex offenders” in society
reproduces many of the deprivations and burdens of prison in addition to the fact
of social and economic incapacitation. Plus, by making the world outside of prison
more like being inside prison, sex offender post-release laws reduce the value of
any threat to return potential recidivists to prison should they commit additional
sex crimes. 11 Put another way, the more difficult, lonely, and unstable registrants’
lives are, the more likely they are to return to crime—and the less they have to lose
by committing new crimes.
   36. Michigan’s SORN law almost certainly contributes to this risk. Registrants
face a variety of collateral burdens that, according to research, 12 negatively
interfere with their ability to find gainful employment, obtain housing, and form
positive relationships—all of which are key components in reducing criminal

   11
       See Prescott, J.J., “Portmanteau Ascendant: Post-Release Regulations and
Sex Offender Recidivism,” Connecticut Law Review, 48(4) (2016), 1035–78,
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2822045.
    12
       See, e.g., Evans, Douglas N., & Michelle A. Cubellis, “Coping with Stigma:
How Registered Sex Offenders Manage Their Public Identities,” American Journal
of Criminal Justice, 40 (2015), 593–619, https://doi.org/10.1007/s12103-014-9277-
z; Lasher, Michael P., & Robert J. McGrath, “The Impact of Community
Notification on Sex Offender Reintegration: A Quantitative Review of the
Research Literature,” International Journal of Offender Therapy and Comparative
Criminology, 56(1) (2012), 6–28, https://doi.org/10.1177/0306624X10387524
(“Overall, however, almost a third (30%) reported job loss…. 12% reported that
they had to move out of a home or apartment because a landlord found out and
when the question was worded more broadly to include loss of housing for any
reason, 19% responded affirmatively. With respect to safety issues, 16% reported
that a family member or cohabitant was harassed, assaulted, or had property
damaged and 44% reported being threatened or harassed by neighbors.”);
Levenson, Jill S., & Leo P. Cotter, “The Effect of Megan’s Law on Sex Offender
Reintegration,” Journal of Contemporary Criminal Justice, 21(1) (2005), 49–66,
https://doi.org/10.1177/1043986204271676 (“Overall, about one third of partici-
pants had experienced dire events, such as the loss of a job or home, threats or
harassment, or property damage.”); Tewksbury, Richard, “Collateral Consequences
of Sex Offender Registration,” Journal of Contemporary Criminal Justice, 21(1)
(2005), 67–81, https://doi.org/10.1177/1043986204271704 (“[I]t is clear that the
collateral consequences of sex offender registration . . . may be quite serious and
harmful, for individual offenders, for their families and loved ones, and for
communities in general.”).

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recidivism. With respect to employment, public registration facilitates
discrimination by customers, clients, or co-workers (and employers willing to
accommodate such discrimination), regardless of the details of the registrant’s
conviction or risk of recidivating. Discrimination by landlords and anticipated
difficulties with neighbors who become aware of a registrant’s status also makes
securing stable, quality, reasonably priced housing challenging. Furthermore, as I
have written elsewhere, “pervasive public awareness that one has committed a sex
crime makes it difficult to form and maintain relationships, both with family
members (who might suffer from the association) and those with whom one might
wish to build a family.” 13 In addition to the isolating effect of SORN laws, making
registrants’ identities and addresses available to the community leads some
members of the community to harass individuals who have committed a sex
offense and even accost registrants in public, online, or at their homes. These
ancillary criminogenic consequences have been well documented by researchers. 14
   37. Adding to these burdens are the direct affirmative obligations imposed on
registrants, which make everyday life more difficult and financially costly. For
example, registrants must report any time they change their residence, academic
status or location, vehicle information, employment status, any phone number they
have or use, or any online identifier or email address 15—and they must do so
within a few business days, and in many cases in person (MCL § 28.725; MCL §
28.727). Photographs are also required within seven days whenever an officer or
authorized employee of the registering authority determines existing photographs
do not sufficiently match the registrant’s appearance (MCL § 28.725a(5)). Much of
this information is then made available online (MCL § 28.728). Even when their
situations do not change at all, registrants must find the time (possibly asking for
time off of work) and the resources to go, in person, a minimum of once a year to
verify their information, with tier II and III registrants requiring more regular

   13
      See Prescott, J.J., “Portmanteau Ascendant: Post-Release Regulations and
Sex Offender Recidivism,” Connecticut Law Review, 48(4) (2016), 1035–78,
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2822045.
   14
      See Socia, Kelly, “The Ancillary Consequences of SORN,” in SEX OFFENDER
REGISTRATION AND NOTIFICATION LAWS: AN EMPIRICAL ASSESSMENT (Logan,
Wayne A., & J.J. Prescott, eds.) (Cambridge Univ. Press) (2021), 78–101
(summarizing research on the negative employment, housing, social, and health
effects of SORN laws).
   15
      Email and internet identifier reporting requirements do not apply to regis-
trants required to be registered after July 1, 2011. MCL § 28.725(2)(a); MCL §
28.727(1) (i).

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appearances, up to four times a year (MCL §§ 28.725a; 28.725). During these in-
person visits, registrants must verify all employment, housing, academic, and other
information in writing (MCL § 28.725a), and they must pay $50 a year as a regis-
tration fee (MCL § 28.725a), a significant sum for those with few economic
opportunities. Registrants must report within three business days whenever they
travel for more than seven days, and they are unable to travel whenever it will
interfere with their ability to comply with in-person reporting requirements (MCL
§§ 28.725(1)(e); 28.725a(3); 28.727(1)(e)). Requirements like these place barriers
between registrants and the support they need to reduce their risk of recidivating.

V. SORN Laws, Burdens, and Recidivism Risk Factors

   38. To carry out my empirical research into the consequences of sex offender
post-release laws, I have had to carefully research and document relevant registra-
tion and notification laws in each of the 50 states over time. This was not a trivial
exercise. In order to understand the consequences of these laws on health, crime,
life prospects, etc., it is necessary to carefully distill the substantive provisions of
these laws into categories that can be useful for analysis. Because my work is
empirical and requires comparisons across states, I recorded all substantive post-
release laws that apply specifically to individuals previously convicted of a sex
offense, and I have spent considerable time ensuring that I am able to accurately
assess—i.e., compare and contrast the substance of—similar-sounding approaches
that appear in multiple states.
  39. This research exercise thus records and describes the establishment and
subsequent evolution of all forms of laws targeted exclusively at controlling and
supervising registrants—including registration, community notification, residency
restrictions, employment restrictions, and civil commitment, among others.
   40. The record begins for most states in the late 1980s or early 1990s—
Michigan’s SORN law story begins in 1994, when the legislature first enacted a
registration law—but in the intervening years, dozens of laws have been passed in
every state, creating a complicated, constantly changing picture for individuals
subject to registration and notification. More recent post-release restrictions have
been built “on top” of the basic registration framework laid down in the early
1990s. I have focused on “substantive” behavioral restrictions and obligations, not
the many burdensome “procedural” requirements that must be satisfied for a
released registrant to remain free (such as registering any change to any identifying
registry information within a specified number of days, etc.). Although my exten-
sive documentation does contain some of this information, and it is often easy to
see how many new procedural obligations have been added to Michigan’s and


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other states’ sex offender post-release laws, my collection of data on laws is under-
inclusive in that it omits many of the complicated day-to-day requirements and
fees that covered individuals are under pain of criminal penalties to satisfy.
  41. Analysis of the evolution of the sex offender laws of the 50 states shows that
the number of post-release obligations, restrictions, constraints, and disabilities
placed on registrants has exploded since the 1990s and especially after 2000.
   42. With very few exceptions, sex offender post-release laws across the states
have been caught for years in a one-way ratchet of imposing increasingly severe
and burdensome restraints and disabilities on registrants. In many states, these laws
have become progressively more wide-reaching on an almost yearly basis, requir-
ing more and more of an individual’s time (and money) to remain in compliance.
The regular changes and growing complexity of these laws make compliance more
difficult, and innocent errors, which lead to great trouble if not prison, more
common. Furthermore, legislatures regularly broaden the scope of laws that had
been previously on the books, adding new individuals to the class of “registered
sex offenders,” even though the crimes newly covered may have been committed
many years in the past.
  43. The structures undergirding the vast array of state sex offender laws are the
basic sex offender registration statutes. Historically, a state identified those
individuals it wished to register for the sake of monitoring (often by their crimes of
conviction) and defined that category as “sex offenders” or used some similar term,
such as “sexually violent predators.” Registration statutes sometimes create, as in
Michigan, two or more groups of registrants, differentiating one from the others
and from nonregistrants on the basis of the perceived seriousness of the crime of
conviction and the perceived need to register the groups in question.
   44. Although these groups were demarcated for a particular purpose (i.e., for
registration and police monitoring) at a particular point in time, subsequent sex
offender post-release laws have in effect piggybacked on the existing structure and
its definitions. Yet it has never been made clear whether the individuals who the
legislature originally determined ought to be publicly registered as “sex offenders”
also ought to be subject to other requirements. In other words, the panoply of
obligations and restrictions now knotted up with “sex offender” registration are
premised on an individual’s underlying status as a registrant regardless of whether
those particular obligations and restrictions are appropriate for the wide range of
individuals who are now classified as “sex offenders” under state law, or whether




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they are appropriate for the extremely lengthy or lifetime registration periods that
are imposed on most registrants.
   45. Sex offender registration laws and the post-release requirements that derive
from them share, as a general matter, a number of other characteristics, as well. To
begin with, the failure to comply with the increasingly complex and confusing
restraints and disabilities can return a registered individual to incarceration (see,
e.g., MCL § 28.729, MCL § 28.725, MCL § 28.725a), at least if the failure is
considered “willful.” Considerable vagueness in language plagues many defini-
tions of these constraints and obligations. There is often little discretion on the part
of judges or others to loosen these restrictions, and the penalties for violations can
be severe, including up to 4 years of imprisonment for a first violation of the regis-
tration act (e.g., MCL § 28.729(1)(a)) (with penalties increasing to 7 or 10 years of
imprisonment for subsequent violations, MCL §§ 28.729(1)(b)-(c)) or up to 2 years
for failing to maintain a valid driver’s license or state-issued identification card
with the individual’s address (e.g., MCL §§ 28.729(2), 28.725a(7)). Moreover,
compliance violations of Michigan’s SORN law result in mandatory return to jail
or prison for those who are on probation or parole, regardless of a sentencing
judge’s views on the appropriate sanction or how best to keep the community safe
(e.g., MCL §§ 28.729(5), 28.729(7)).
   46. While the basic categories of sex offender restrictions built on top of early
registration statutes seem straightforward enough in the abstract, the vast web of
sex offender post-release laws across the states are numerous, unpredictable,
unexpected, burdensome, complicated, and often vague. In the attached exhibit, I
list and describe several examples. Note the sheer volume of constraints and
obligations the laws impose, and the constant vigilance required of registrants to
stay in compliance.
   47. One serious set of difficulties for registrants generally arises from the fact
that they face additional nonobvious and often confusing obligations in other states
should they travel out of state for work or to visit family or friends, especially in a
state like Michigan where distances to other states are relatively short from the
most populated parts of the state. Post-release sex offender laws as a general matter
allow only very small windows within which to comply with applicable state
regulations, and because there is incredible variety in the procedures and substan-
tive obligations across the states (including types that do not exist in Michigan),
confusion on the part of the registrants is certain and accidental failure to comply is




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likely to be common, leaving aside the time and effort that satisfaction of these
obligations requires of them. 16
   48. For example, consider an individual with a previous sex offense conviction
who must register in Michigan because he maintains residency in the state (see
MCL § 28.723, which requires offenders “who are domiciled or temporarily reside
in this state or who work with or without compensation or are students in this
state” to register under certain conditions). If this registrant visits an Ohio county
for three or more days, he must register with the local Ohio sheriff (Ohio Code §
2950.04(A)(2)(a)). If the registrant will attend school in an Ohio county, he must
register immediately (Ohio Code § 2950.04(A)(2)(b)), and he must also register
upon being employed in the county for 3 consecutive days or 14 nonconsecutive
days total in a calendar year (Ohio Code § 2950.04(A)(2)(d)). In Indiana, a person
must register if he spends or intends to spend at least seven days, inclusive, in
Indiana, or if he owns any real property in Indiana and returns to the state at any
time (see IC 11-8-8-7(a)(1)). Registration laws are written such that individuals
may have to be simultaneously registered in many states at a time and yet the rules
and procedures for registration vary by enough to make ensuring complete compli-
ance difficult and time-consuming. Individuals who are required to register in
another state for a temporary visit may also continue to be on that state’s registry
even after returning home to Michigan, and even after being removed from Michi-
gan’s registry (see, e.g., Fla. Stat. § 943.0435 et seq, McGroaty v. Swearingen, 977
F.3d 1302 (11th Cir. 2020)). It does not help that many states require regular in-
person registration with local law enforcement.
  49. Consider other types of post-release restraints that apply to a registrant in
Michigan who travels regularly and thus must register elsewhere (continuing to use
Ohio as an example). Ohio prohibits registrants from living within 1,000 feet of
“any school premises or preschool or child day-care center premises” (see Ohio
Code § 2950.034). So does Indiana, although the details differ (see IC 35-42-4-11).

   16
      See Rolfe, Shawn M. “When a Sex Offender Comes to Visit: A National
Assessment of Travel Restrictions,” Criminal Justice Policy Review, 30(6) (2017),
885–905, https://journals.sagepub.com/doi/pdf/10.1177/0887403417742948
(“Most notably, there is significant variation in the number of days a registered sex
offender has to register in any given state when they come to visit for any occa-
sion. Depending on the state or jurisdiction that the registrant is visiting, residence
restrictions may also be applicable. As a result of these laws, registrants may feel
stymied from visiting another state, which may further delineate prosocial oppor-
tunities, including gatherings with family and friends or fulfilling employment
obligations.”)

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Thus, while Michigan no longer imposes residency restrictions, Michigan regis-
trants remain subject to them in other states, where the procedures registrants must
follow and the precise areas that are off-limits vary by state. Sometimes, these
restrictions can vary city by city, even if the state itself does not impose such
restrictions. Registrants in Michigan who visit Wisconsin, for example, will have
to contend with residency restrictions that vary by municipality (e.g., Town of
Paris Code of Ordinances 10-19 et seq., City of Muskego Code of Ordinances 294-
2 et seq.). Some states impose residence and even presence restrictions whether or
not an individual is actually required to register in that state (e.g., Mo. Rev. Stat.
§ 566.147, 566.148), making compliance even more difficult. Consequently, regis-
trants from Michigan traveling to other states where they also must register will be
subject to a range of very different regimes of post-release laws.
   50. The examples above are merely illustrative of the complexity of the system
in which registrants must live. These examples are presented to help make sense of
the fact that registration and notification laws have real potential to increase sex
offense recidivism by the heavy burdens they impose. It is essentially impossible
for a Michigan registrant to travel to other states without significant risk of being
found out of compliance. Even determining how to remain in compliance when
traveling requires fortitude, time, and discipline. Registration laws ensnare regis-
trants in a tangled web of administrative requirements. Normal activities, like
traveling or even moving residences, force them to remain continuously apprised
of intricate laws spanning multiple jurisdictions, regardless of where (or often
when) they were convicted. Failing to do so risks conviction for failure to register
and potentially prison. The practical impact of registration, then, is that it signifi-
cantly impacts registrants’ ability to associate with family or friends out-of-state,
or indeed to travel for any purpose, whether that would be to attend a political
conference or go on vacation.
   51. Engaging in careful compliance, on the other hand, can also be detrimental
to registrants’ post-release prospects. Adhering to all these requirements can take a
great deal of a registrant’s time when all is said and done, from in-person registra-
tion meetings to understanding what exactly must be done (and not done). This is
time registrants need to find work, housing, or the social supports that would
reduce their risk of recidivism. Even when a registrant is in compliance, Michi-
gan’s notification policies broadly advertise a registrant’s status. This publicity
directly aggravates recidivism risk factors by making it more difficult for regis-
trants to rebuild their lives. Indeed, experts uniformly agree that these burdens,
disabilities, and constraints have real potential to increase rather than decrease
recidivism risk.



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VI.   Conclusion

    The research findings and my conclusions are set out in Parts II and III above,
with the discussion that supports those conclusions in Parts IV and V. The bottom
line is that any “public safety” justification for modern SORN laws is contradicted
by the wealth of social science and economic research that has emerged over the
past 25 years. Laws like Michigan’s appear, according to a large body of research,
to do nothing to reduce sex offense recidivism and likely increase sex offense (and
other types of) recidivism, making communities less safe overall.

Statement of Compensation
   I have provided this report pro bono.
   I state under penalty of perjury that the above statements are true and correct to
the best of my knowledge, information, and belief.

                                                ______________________
                                                James J. Prescott, J.D., Ph.D.
Dated: December 29, 2021



                              TABLE OF EXHIBITS

                                      Exhibit A

                       Consequences Triggered by Michigan
                   Sex Offender Registration: A National Sample


                                      Exhibit B

                              C.V. of James J. Prescott




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                       Attachment 1:
 Consequences Triggered by Michigan Sex Offender
         Registration: A National Sample
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                                Exhibit A:
       Consequences Triggered by Michigan Sex Offender Registration:
                            A National Sample

    In addition to complying with their home state’s registration requirements,
Michigan registrants must also comply with the idiosyncratic laws of any
jurisdiction in which they are “temporarily domiciled.” In many states, including
nearby Ohio, Illinois, and Pennsylvania, a visit lasting longer than two days
triggers registration, even if the registrant’s crime of conviction would not have
otherwise warranted registration in those states.
    Examples of such reciprocal registration laws include: Colo. Rev. Stat. § 16-22-
103 (“[A]ny person convicted of an offense in any other state or jurisdiction . . . for
which the person, as a result of the conviction, is, was, has been, or would be
required to register if he or she resided in the state or jurisdiction of conviction . . .
shall be required to register in the manner specified in section 16-22-108, so long
as such person is a temporary or permanent resident of Colorado.”); Mich. Comp.
Laws § 28.724(6)(d); Ohio Rev. Code Ann. § 2950.04(4); 42 Pa. Cons. Stat. Ann.
§ 9799.13(7) (all substantively similar). Every state appears to have some sort of
reciprocal registration law. There are also some states that impose restrictions on
those with past sex convictions even if they are not otherwise required to register
in the state of conviction.
    Thus, registrants who travel out-of-state, even temporarily to visit family or to
engage in business, may find themselves subject to unfamiliar, unpredictable,
confusing, and burdensome obligations and restrictions—not to mention
registration fees. As these laws reach into many areas of life, they render it very
difficult to travel lawfully. This exhibit highlights some of these travel-related
burdens and provides examples of some of the more unexpected and onerous sex
offender laws from around the country, to which Michigan registrants are subject if
they move or travel to other states.

1. Reporting, Surveillance, and Supervision
   • Nearly every state requires registration of those with past sex offense
     convictions—or otherwise subject to a registration obligation in another
     jurisdiction—even if they are visiting. Cf. Shawn Rolfe, When a Sex
     Offender Comes to Visit: A National Assessment of Travel Restrictions, 1
     CRIM. JUST. POL. REV. 21 (2017).




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   • Registrants must register, in person, for example, if they visit for longer than
     two days in Illinois or Ohio, five days in Florida, or if they spend 7 days in
     Indiana over any six-month period. They must register within 48 hours of
     arriving in Pennsylvania and by the first working day of arriving in Alaska.
     These obligations apply even if the registrant intends to stay only
     temporarily. Other states mandate similar time periods for registration.
     Alaska Stat. § 12.63.010; 730 Ill. Comp. Stat. 150/3(a)(1); Ind. Code § 11-8-
     8-7(a); Ohio Rev. Code Ann. § 2950.04(4) (West 2008); 42 Pa. Cons. Stat. §
     9799.19(i); Fla. Stat. Ann. §§ 943.0435, 775.21.
   • In Illinois, registrants must pay a $100 initial registration fee and a $100
     annual renewal fee; in Iowa, registrants must pay a $200 or $260 one-time
     fee post-conviction, plus a $25 annual registration fee; and in Idaho,
     registrants must pay an $80 annual registration fee. Idaho Code Ann. § 18-
     8307(2); 730 Ill. Comp. Stat. 150/3(c)(6); Iowa Code § 692A.110.
   • In Alabama, registrants must obtain travel permits if they intend to leave
     their county of residence temporarily for more than two days. Ala. Code §
     15-20A-15.
   • In Illinois, registrants must provide law enforcement with a detailed travel
     itinerary if they will be away, or intend to be away, from their registered
     residence for more than two days; in Alabama, for visits longer than three
     days; and in Iowa, for visits longer than five days. Ala. Code § 15-20A-15;
     730 Ill. Comp. Stat. 150/3; Iowa Code § 692A.105.
   • If traveling internationally, registrants are required under both federal and
     many state laws to notify government officials 21 days in advance of their
     travel plans, including travel itinerary, dates and places of departure and
     return, means of travel, purpose of travel, and where they will be staying.
     Many states have their own independent international travel obligations that
     may be more burdensome than federal law. See 42 U.S.C. § 16901 et seq.,
     https://smart.ojp.gov/sorna/notice-international-travel; Mich. Comp. Laws §
     28.725(8) (requiring 21-day advance notice of international travel lasting
     more than seven days); Ky. Rev. Stat. Ann. § 17.510(10)(e) (West 2018)
     (requiring 21-day advance notice as well as re-registration upon return).

2. Denial of Access to Public Accommodations
   • In Warren, Michigan, registrants are banned from public parks, playgrounds,
     or city recreation facilities. Warren Mun. Code 22-140 (Warren, MI). See



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      also Irvine Mun. Code 4-14-803 (Irvine, CA) (similarly banning registrants
      convicted of crimes involving minors).
   • In Missouri, anyone with a designated sex offense conviction is banned from
     being present within 500 feet of any public park with playground equipment,
     a swimming pool, an athletic complex, a museum, or Missouri department of
     conservation nature or education center properties. Violating the provision is
     a felony offense, whether or not the individual is registered in Missouri. Rev.
     Stat. Mo. §566.150.
   • In Huachuca City, Arizona, registrants are banned from many public places,
     including public schools, parks, pools, gymnasiums, sports fields, and sports
     facilities. Town of Huachuca City, Az., Rev. Ordinances § 9.35.
   • In Iowa, certain registrants are barred from public libraries and may not
     loiter within 300 feet of the property boundary of a library. In Tennessee,
     library directors may exclude registrants at any time. Iowa Code §
     692A.113(f); Tenn. Code Ann. § 40-39-216. But see Doe v. City of
     Albuquerque, 667 F.3d 1111 (10th Cir. 2012) (striking down municipality’s
     library ban on First Amendment grounds).
   • In Florida, registrants may be banned from public hurricane or emergency
     shelters. See Elizabeth Weill-Greenberg, Florida County: People on the Sex
     Offender Registry Should Shelter from Dorian in Jail, THE APPEAL (Sept. 4,
     2019); Elizabeth Flock, Where Florida Counties Sheltered Sex Offenders
     during Irma, PBS (Sept. 13, 2017). In Collier County and Indian River
     County, registrants can be kept in a separate room of the shelter. In Lee
     County, registrants may use only “pre-designated” shelters specifically
     intended for registrants, if they are available. Collier County, Fla. Code of
     Ordinances 111-33; Indian River County, Fla. Code of Ordinances 306.06;
     Lee County, Fla. Code of Ordinances 24½-5.

3. Restrictions on Religious Participation and Social Activities
   • In Georgia, registrants are prohibited from working or volunteering at a
     church. Ga. Code. Ann. § 42-1-15(c)(1).
   • In Oklahoma, registrants must receive written permission from the “religious
     leader” of a church or other institution before entering to worship. Okla.
     Stat. tit. 21, § 1125(E).
   • In North Carolina, certain registrants may not be present in any place where
     minors gather for regular educational, recreational, or social programs. N.C.


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      Gen. Stat. § 14-208.18(a)(3). That includes churches and other institutions of
      religious worship. See Bonnie Rochman, Should Sex Offenders Be Barred
      from Church?, TIME (Oct. 14, 2009).
   • In North Hudson, Wisconsin, registrants cannot “participate in a holiday
     event involving children,” except if the registrant is the parent or guardian
     and no other children are present. North Hudson, Wis. Code of Ord. 70-95.
   • In Tennessee, certain registrants may not “[p]retend to be, dress as, impersonate
     or otherwise assume the identity of a real or fictional person or character or a
     member of a profession, vocation or occupation while in the presence of a
     minor.” Tenn. Code Ann. § 40-39-215(a)(1).
   • In Missouri; Nassau County, Florida; and Orange County, California,
     registrants on Halloween must post a sign stating, “No candy or treats at this
     residence,” and must turn off all outside residential lighting. Missouri
     registrants must also stay inside their homes “unless required to be
     elsewhere for just cause.” Mo. Rev. Stat. § 589.426; Nassau County, Fla.
     Code of Ordinances 19¼-44; Orange, Cal. Code of Ordinances 9.10.045. See
     also F.R. v. St. Charles County Sheriff’s Dept., 301 S.W.3d 56 (Mo. 2010)
     (finding the Missouri provision punitive and prohibiting its retroactive
     application).

4. Restrictions on Civic Engagement
   • In Minnesota and Missouri, registrants cannot be candidates for school board
     positions. Minn. Stat. § 609B.123; Mo. Rev. Stat. § 162.014.
   • In Illinois, registrants cannot be selected as election judges. 10 Ill. Comp.
     Stat. 5/14-1.
   • In Vigo County, Indiana, registrants cannot vote at schools. Officials: Sex
     Offenders Can’t Vote at Schools, WTHI (Terre Haute, IN) (May 9, 2011).

5. Free Speech, Internet, and Web Site Restrictions
   • In North Carolina, certain registrants are barred from using Facebook,
     Instagram, and other similar websites. Additionally, they are barred from
     communicating with or gathering information about anyone they believe to
     be under the age of 16—regardless of whether or not they are a family
     member. N.C. Gen. Stat. §14-202.5(a). But see Packingham v. North
     Carolina, 137 S.Ct. 1730 (2017) (holding prior version of North Carolina’s



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      statute unconstitutional). For similar statutes, see Ind. Code § 35-42-4-12;
      La. Rev. Stat. Ann. § 14:91.5; Tex. Gov’t Code Ann. § 508.1861.
   • Registrants are often barred from websites defined broadly to have the
     primary purpose of facilitating social interaction with other users, to allow
     users to create profiles about themselves that are available to the public or
     other users, or to offer a mechanism for communication among users. La.
     Rev. Stat. Ann. §14:91.5(B)(2). But see Doe v. Jindal, No. 11-554-BAJ-
     SCR, 2012 WL 540100 (M.D. La. Feb. 16, 2012) (striking down statute
     barring certain registrants from accessing social media as substantially
     overbroad and therefore a violation of the First Amendment).
   • In Louisiana, even if certain registrants are not barred from using social
     media entirely, a registrant must still “include in his profile for the
     networking website an indication that he is a sex offender or child predator
     and shall include notice of the crime for which he was convicted, the
     jurisdiction of conviction, a description of his physical characteristics . . .
     and his residential address” should they choose to use such a website. La.
     Rev. Stat. Ann. §15:542.1(D)(1).
   • In Kentucky, registrants who committed their offense against a minor are
     barred from communicating with or gathering information about anyone
     who is a minor. In Kentucky, Georgia, and other states, registrants are barred
     from taking any photograph or video of a minor without parental consent.
     Ky. Rev. Stat. Ann. § 17.546; Ga. Code Ann. § 42-1-18 (similar
     restrictions). But see State v. Oatman, 871 N.W.2d 513 (Wis. Ct. App. 2015)
     (striking down similar restriction on First Amendment grounds).
   • In Indiana, registrants on probation or parole must sign a “consent form”
     authorizing law enforcement authorities to search “at any time” their
     personal computers or other devices with Internet capability, as well as to
     install hardware or software to monitor their Internet usage. This installation
     shall occur at the registrant’s expense. Ind. Code § 11-8-8-8(b).
   • In New Jersey, registrants whose crime involved a computer or any other
     device with Internet capability must receive court approval to use any device
     with Internet access and must submit to unannounced searches of those
     devices. N.J. Stat. Ann. § 2C:43-6.6.
   • In Illinois, registrants are required to provide the government with “all e-
     mail addresses, instant messaging identities, chat room identities, and other
     Internet communications identities that the sex offender uses or plans to use,


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      all Uniform Resource Locators (URLs) registered or used by the sex
      offender, all blogs and other Internet sites maintained by the sex offender or
      to which the sex offender has uploaded any content or posted any messages
      or information.” 730 Ill. Comp. Stat. § 150/3(a). Failure to provide any of
      this information is a felony offense. 730 Ill. Comp. Stat. § 150/10. See
      People v. Minnis, 67 N.E.3d 272 (Ill. 2016) (Illinois Supreme Court
      affirming juvenile adjudication for failure of defendant to inform authorities
      that he had updated his Facebook cover photo since his last registration).

6. Identification Cards
   • Federal law requires that any individual required to register because of an
     offense against a minor have a specialized identifier on their passport,
     identifying them as such. 22 U.S.C. § 212b.
   • In Alabama, Indiana, and Tennessee, registrants must carry identification at
     all times. Ala. Code § 15-20A-18(a); Ind. Code § 11-8-8-15; Tenn. Code
     Ann. § 40-39-213.
   • In Florida, Tennessee, and Texas, registrants must carry special driver’s
     licenses or identification cards that clearly indicate that they are registrants.
     Fla. Stat. § 322.141; Tenn. Code Ann. § 55-50-353; Tex. Transp. Code Ann.
     § 521.057. But see Doe 1 v. Marshall, 367 F.Supp.3d 1310 (M.D. Ala. 2019)
     (striking down branding identification requirement on First Amendment
     grounds); State v. Hill, __ So. 3d __; 2020 WL 6145294 (La., Oct. 20, 2020)
     (same).
   • In Texas, registrants must renew their driver’s license or personal
     identification cards annually. Tex. Code Crim. Proc. Ann. art. 62.060 (West
     2016).

7. Housing Restrictions
   • Approximately half of all states and an unknown number of localities
     impose residential exclusion zones on people with past sex offense
     convictions. These zones prohibit covered individuals from living within
     proscribed distances—typically between 500 and 3,000 feet—from any
     number of locations typically frequented by children. See Joanne Savage and
     Casey Windsor, Sex Offender Residence Restrictions and Sex Crimes
     against Children: A Comprehensive Review, 43 AGG. & VIOL. BEH. 13
     (2018). These laws can result in homelessness, such as in Miami-Dade
     County, Florida, where one of the few lawful places for registrants to reside


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      is underneath the Julia-Tuttle Causeway. Greg Allen, Sex Offenders Forced
      to Live Under Miami Bridge, NPR (May, 20, 2009).
   • Landlords in Ludington, Michigan, are prohibited from renting to registrants
     when their property is located within 1,000 feet of school property.
     Ludington, Mich. Code of Ordinances § 34-232. In Jackson, Michigan, a
     “Fair Chance” housing ordinance permits landlords to evict or refuse to rent
     to anyone subject to a lifetime registration requirement. Jackson, Mich.,
     Code of Ordinances § 14-606.
   • Across the country, any person whose household includes a person subject
     to life-time registration is barred from accessing federally subsidized
     housing. 42 U.S.C. § 13663 (2006).
   • In Illinois, Indiana, Maryland, and Washington, among many other states,
     homeless registrants must report to the local sheriff, in person, once a week.
     730 Ill. Comp. Stat. 150/3(a); Ind. Code § 11-8-8-12(c); Md. Code Ann.,
     Crim. Proc. § 11-705(d)(2); Wash. Rev. Code § 9A.44.130(6)(b).
   • In Pennsylvania, any person who is transient must report in person monthly.
     42 Pa. Cons. Stat. § 9799.15(h)(1). Such individuals must also report “a list
     of places the individual eats, frequents and engages in leisure activities.” 42
     Pa. Cons. Stat. § 9799.16(b)(6).
   • In California, a registrant on parole may not live with any other registrant in
     a “single family dwelling.” In Oregon, registrants on probation, parole, or
     supervision may not “reside in any dwelling” together. In Idaho and
     Oklahoma, a registrant may not live with more than one other registrant. Of
     these states, only California and Oklahoma provide statutory exceptions to
     allow married or related registrants to live together. Cal. Penal Code §
     3003.5(a); Idaho Code Ann. § 18-8331; Okla. Stat. tit. 57, § 590.1; Or. Rev.
     Stat. § 144.642. But see In re Taylor, 343 P.3d 867 (Cal. 2015) (striking
     down blanket enforcement of statutory residency restrictions on parolees).

8. Employment Restrictions
   • In Daytona Beach, Florida, registrants cannot work as garbage collectors for
     recycling or waste disposal franchisees. Daytona Beach Shores, Fla. Code of
     Ordinances 12-7(7).
   • In Georgia, registrants convicted after July 1, 2008, are barred from working
     or volunteering at any childcare facility, school, or church—or “at any
     business or entity that is located within 1,000 feet of a childcare facility, a


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      school, or a church.” Ga. Code. Ann. § 42-1-15(c)(1). See also Tenn. Code.
      Ann. § 40-39-211(a)(1) (similar restrictions).
   • In Louisiana, registrants cannot operate any bus, taxicab, or limousine, or
     work in any service position that would involve entering a residence. La.
     Rev. Stat. Ann. § 15:553.
   • In Massachusetts, New York, and Tennessee, registrants cannot operate an
     ice cream truck. Mass. Gen. Laws ch. 265, § 48; N.Y. Correct. Law § 168-v;
     Tenn. Code Ann. § 40-39-215(a)(3).
   • In Illinois, certain registrants cannot work at a state or county fair, or lease a
     residential unit to a family with children, or operate vending, rescue, or
     emergency vehicles. 720 Ill. Comp. Stat. 5/11-9.3. Registrants are also not
     eligible to be health care workers. 20 Ill Comp. Stat. 2105/2105-165(b).
   • In Alabama, registrants are not eligible for a commercial driver license for
     passenger vehicles. Ala. Code § 32-6-49.24. In numerous states, registrants
     are prohibited from driving for ride-sharing companies like Lyft or Uber.
     See Alaska Stat. Ann. § 28.23.100(b)(3); Ariz. Rev. Stat. § 28-9555(B)(3),
     Cal. Pub. Util. Code § 5445.2(a)(2)(B); Md. Code. Public Util. § 10-404.
   • In Arkansas, registrants are ineligible to be barbers. Ark. Stat. § 17-20-
     308(1)(B).
   • In numerous Michigan localities, registrants can be denied permits as
     canvassers, peddlers, or solicitors. See Lathrup Village, Mich. Code of
     Ordinances § 50-34; Huntington Woods, Mich. Code of Ordinances § 28-3;
     Green Oak Charter Township, Mich., Code of Ordinances § 28-4. In
     Plymouth, and Ann Arbor, Michigan, registrants can be denied permits to
     operate a pedicab. Plymouth, Mich., Code of Ordinances, § 22-296; Ann
     Arbor, Mich. Code § 10:219 (similar).

9. Restrictions by Private Businesses and Universities
Many private actors also use sex offender registries to deny registered individuals
goods and services. Examples include:
   • Facebook and Instagram prohibit anyone with a past sex conviction from
     using their platforms. See Facebook Help; Instagram Help. Nextdoor
     prohibits anyone who lives with a registrant from using their platform. See
     Nextdoor Membership Agreement. See also Aline Reynolds, Facebook and
     Myspace Kick Out Thousands of NY Sex Offenders, DISCOVER MAGAZINE


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      (Dec. 4, 2009); MySpace Kicks Out 90,000 Sex Offenders, Connecticut AG
      Says, CNN TECH (Feb. 3, 2009).

   • Online dating sites are unavailable to registrants. Carol J. Williams,
     Match.com Agrees to Screen for Sex Offenders to Settle Lawsuit, LOS
     ANGELES TIMES (Aug. 24, 2011) (reporting that “the company’s promise to
     screen all members is expected to spark a new industry norm”).
   • Regardless of state law, many providers in the “gig economy” sector—such
     as Doordash, Postmates, and Uber Eats—prohibit individuals convicted of
     sex offenses from working for them. See, e.g., Uber Help.
   • Airbnb bans guests and hosts who were convicted of crimes involving
     “sexual violence and exploitation,” regardless of when those convictions
     occurred. See Airbnb Help.
   • Some colleges also ban registrants. See Mary Helen Miller, Lake Michigan
     College Bans Sex Offenders of Children from Its Campuses, THE CHRONICLE
     OF HIGHER EDUCATION (Mar. 3, 2010),

   • Athletic clubs use the registry to deny membership to people on the registry.
     See Muskegon YMCA Revokes Memberships of Registered Sex Offenders,
     Associated Press (Nov. 29, 2007) (crediting the Michigan online sex
     offender registry for “making the policy even possible”); Emily Friedman,
     YMCAs Revoke Memberships of Registered Sex Offenders, ABC News (Feb.
     4, 2010) (explaining how 12 Connecticut YMCAs revoked memberships
     after cross-referencing their membership lists against the state’s sex offender
     registry).
   • Church associations sometimes bar churches who hire registrants. Assoc.
     Asks Church with Sex-offender to Resign, TOWN HALL MAGAZINE (Mar. 08,
     2012) (reporting that the Jacksonville Baptist Association in Jacksonville,
     Florida, is seeking a member church’s resignation after the church hired a
     registrant as a minister).
   • Registrants are sometimes barred from visiting friends and relatives at
     hospitals. See, e.g., Heather May & Julia Lyon, Utah Children’s Hospital
     Screens Visitors to See if They Are Sex Offenders, THE SALT LAKE TRIBUNE
     (Dec. 18, 2011) (reporting on computerized check-in program used to
     identify registrants at “more than 100 other hospitals across the country”).
     This Utah children’s hospital reportedly allows registrants to visit their own
     children (while devoting “extra scrutiny”) but asks other registrants to leave.


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                       Attachment 2:
                    C.V. of James J. Prescott
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                                         EMPLOYMENT

 UNIVERSITY OF MICHIGAN LAW SCHOOL, Henry King Ransom Professor of Law (2019–)
                                    Professor of Economics (2015–) (courtesy)
                                    Co-Director, Program in Law and Economics (2012–)
                                    Co-Director, Empirical Legal Studies Center (2014–)
                                    Professor of Law (2011–19)
                                    Assistant Professor of Law (2006–11)

    Research:       Criminal Law
                    Civil Litigation and Settlement
                    Empirical Law and Economics
                    Sentencing and Corrections
                    Employment Law
    Teaching:       Criminal Law
                    Employment Law
                    Law and Economics Workshop
                    Negotiation
                    Economic Analysis of Law

                                           EDUCATION

 MASSACHUSETTS INSTITUTE OF TECHNOLOGY, Ph.D., Economics, 2006
    Honors:         MIT Department of Economics Fellowship (1997–99)
                    Jacob K. Javits Fellowship (1998–2002)
    Dissertation:   Essays in Empirical Law and Economics
                    (Advisers: David Autor, Michael Greenstone, Christine Jolls)

 HARVARD LAW SCHOOL, J.D., 2002
    Honors:         Graduated magna cum laude
                    John M. Olin Fellowship in Law and Economics (1999–2002)
                    Treasurer (Vol. 115) and Editor, Harvard Law Review
    Clerkship:      Hon. Merrick B. Garland, U.S. Court of Appeals for the D.C. Circuit (2002–03)

 STANFORD UNIVERSITY, B.A., Public Policy and Economics, 1996
    Honors:         Graduated with Honors and Distinction; Phi Beta Kappa (elected in junior year);
                    Ethics-in-Society Honors Program; Presidential Award for Excellence in the
                    Freshman Year; Truman Scholar Finalist (CA)
    Thesis:         Why Vote? Using Principles to Solve the Paradox of the Irrational Voter


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 McJunkin, Ben A., and J.J. Prescott, “Fourth Amendment Constraints on the Technological
    Monitoring of Convicted Sex Offenders,” New Criminal Law Review, 21 (2018), 379–425.

 Prescott, J.J., “Assessing Access to Justice Outreach Strategies,” Journal of Institutional and
     Theoretical Economics (JITE), 174(1) (2018), 34–63.

 Prescott, J.J., “Improving Access to Justice in State Courts with Platform Technology,” Vanderbilt
     Law Review, 70 (2017), 1993–2050.

 Hou, Youyang, Cliff Lampe, Maximilian Bulinski, and J.J. Prescott, “Factors in Fairness and Emotion
    in Online Case Resolution Systems,” Proceedings of the 2017 ACM Conference on Human
    Factors in Computing Systems (May 2017).

 Prescott, J.J., and Kathryn E. Spier, “A Comprehensive Theory of Civil Settlement,” New York
     University Law Review, 91 (2016), 59–143.

 Prescott, J.J., “Portmanteau Ascendant: Post-Release Regulations and Sex Offender Recidivism,”
     Connecticut Law Review, 47 (2016), 1035–78

 Bulinski, Maximilian A. and J.J. Prescott, “Online Case Resolution Systems: Enhancing Access,
     Fairness, Accuracy, and Efficiency,” Michigan Journal of Race and Law, 21 (2016), 205–49.

 Prescott, J.J., “Criminal Sanctions and Deterrence,” in ENCYCLOPEDIA OF LAW AND ECONOMICS
     (2019), vol. 1 (A-E) (Alain Marciano and Giovanni Battista Ramello, eds.) (New York: Springer)
     (first published online in 2016), 498–510.

 Prescott, J.J., Norman D. Bishara, and Evan Starr, “Understanding Noncompetition Agreements: The
     2014 Noncompete Survey Project,” MSU Law Review, 2016, 369–464

 Gerstein, Charlie, and J.J. Prescott, “Process Costs and Police Discretion,” Harvard Law Review
    Forum, 128 (2015), 268–88.

 Agan, Amanda Y., and J.J. Prescott, “Sexual Offenses,” in ENCYCLOPEDIA OF LAW AND ECONOMICS
    (2019), vol. 3 (O-Z) (Alain Marciano and Giovanni Battista Ramello, eds.) (New York: Springer)
    (first published online in 2015), 1871–84.

 Prescott, J.J., Kathryn E. Spier, and Albert H. Yoon, “Trial and Settlement: A Study of High-Low
     Agreements,” Journal of Law and Economics, 57 (2014), 699–746.

 Agan, Amanda Y., and J.J. Prescott, “Sex Offender Law and the Geography of Victimization,”
    Journal of Empirical Legal Studies, 11 (2014), 786–828.

 Prescott, J.J., “Do Sex Offender Registries Make Us Less Safe?” Regulation, 35(2) (2012), 48–55.

 Prescott, J.J., “Child Pornography and Community Notification: How an Attempt to Reduce Crime
     Can Achieve the Opposite,” Federal Sentencing Reporter, 24 (2011), 93–101.

 Prescott, J.J., and Jonah E. Rockoff, “Do Sex Offender Registration and Notification Laws Affect
     Criminal Behavior?” Journal of Law and Economics, 53 (2011), 161–206.



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 Prescott, J.J., “The Challenges of Calculating the Benefits of Providing Access to Legal Services,”
     Fordham Urban Law Journal, 37 (2010), 303–46.

 Prescott, J.J., and Sonja B. Starr, “Improving Criminal Jury Decision Making After the Blakely
     Revolution,” University of Illinois Law Review, 2006, 301–56.

 Jolls, Christine M., and J.J. Prescott, “Disaggregating Employment Protection: The Case of Disability
     Discrimination,” NBER Working Paper 10740 (2004).

 Prescott, J.J., “Tort as a Debt Market: Agency Costs, Strategic Debt, and Borrowing against the
     Future, Harvard Law Review, 115 (2002), 2294–316 (Student Note).

 Prescott, J.J., “Prevailing Party—Buckhannon Board & Care Home, Inc. v. West Virginia Department
     of Health & Human Resources, 121 S. Ct. 1835 (2001),” Harvard Law Review, 115 (2001), 457–
     67 (Student Supreme Court Case Comment).

 Prescott, J.J., “Second Circuit holds that Punitive Damages are Unavailable against Municipalities—
     Ciraolo v. City of New York, 216 F.3d 236 (2d Cir. 2000),” Harvard Law Review, 114 (2000),
     666–72 (Student Recent Case Comment).

                                        WORKS IN PROGRESS

 Prescott, J.J., and Evan Starr, “Subjective Beliefs about Contract Enforceability,” draft available.

 Garrett, Brandon L., and J.J. Prescott, “Determinants of Success in Post-Conviction Litigation by the
    Innocent,” draft available.

 Prescott, J.J., “The Possibilities of Offender Choice in Sentencing: Eliciting Forward-Looking
     Information,” draft available.

 Prescott, J.J., “Measuring the Consequences of Criminal Jury Trial Protections,” draft available (revise
     and resubmit, Journal of Legal Studies).

 Prescott, J.J., “Empirical Evidence of Prosecutorial Charging Manipulation: And What It Tells Us
     about What Prosecutors Are Trying to Do,” draft available.

 Klick, Jonathan, and J.J. Prescott, “The Effect of Sex Offender Laws on the Sexual Abuse and Health
     of Minors,” 25-page funding narrative available.

 Prescott, J.J., and Eric B. Laber, “The Effects of Judge, Prosecutor, and Defendant Race and Gender
     Interactions on Defendant Outcomes,” 15-page funding narrative available.

 Bailey, Martha J., and J.J. Prescott, “The Regulation of Vice in the 1960s: The Case of Contraception
     as ‘Obscene,’” précis available.

 Prescott, J.J., “Data Set: New Orleans District Attorney’s Office Data, 1988-1999,” including arrest,
     charging, conviction, and sentencing data with judge, prosecutor, and defendant identifiers and
     over 30,000 defendant observations.

 Prescott, J.J., “A Fifty-State Compendium of Sex Offender Regulation.”




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                                         OTHER WRITING

 Buhl, William, J.J. Prescott, and Miriam Aukerman, “Michigan Poised to Double Down on Failed Sex
    Offender Registry,” DETROIT FREE PRESS, Dec. 10, 2020, https://www.freep.com/story/opinion/
    contributors/2020/12/10/michigan-sex-offender-registry-legislation/6507848002/.

 Prescott, J.J., Benjamin Pyle, and Sonja Starr, “It’s Time to Start Releasing Some Prisoners With
     Violent Records,’” SLATE, April 13, 2020, https://slate.com/news-and-politics/2020/04/combat-
     covid-release-prisoners-violent-cook.html.

 Prescott, J.J., and Sonja B. Starr, “The Case for Expunging Criminal Records,” N.Y. TIMES, March 20,
     2019, at A27, https://www.nytimes.com/2019/03/20/opinion/expunge-criminal-records.html.

 Prescott, J.J., “Unclogging Courts by Resolving Simple Cases Online,” THE BRIDGE, May 19, 2016,
     http://bridgemi.com/2016/05/unclogging-courts-by-resolving-simple-cases-online/.

 Prescott, J.J., Kathryn E. Spier, and Albert H. Yoon, “审 判与和解：高低协议研究 ” [Trial and
     Settlement: A Study of High-Low Agreements] (translated by Yajie Xin. 比较 ): Comparative
     Studies, no. 80 (2015), 154–189.

 Prescott, J.J., “In Michigan, Access to Justice a Click Away,” DETROIT NEWS, March 12, 2015, at 3B,
     http://www.detroitnews.com/story/opinion/2015/03/11/prescott-court-innovations/70166738.

 Prescott, J.J. (principal drafter), Miriam J. Aukerman, Michael J. Steinberg, Kary L. Moss, and John
     R. Minock, “Distinguished Brief: People of the State of Michigan v. David Mark Cole,” Thomas
     M. Cooley Law Review, 30(3) (2013), 313–68.

                                      GRANTS AND AWARDS

 American Civil Liberties Union ($250,000) (“Prosecutor Transparency Project”) (2021)
 Distinguished University Innovator Award, University of Michigan (2020)
 Vital Projects at Proteus ($20,000) (2019) (“Understanding Recidivism Rates for Homicide
     Offenders”) (Co-PI: Benjamin D. Pyle)
 National Science Foundation, Cyber-Human Systems ($909,213) (2018) (“Drawing from Theories of
     Justice to Respond to Online Harassment”) (Co-PIs: Sarita Yardi Schoenebeck and Clifford
     Lampe)
 University of Michigan, Poverty Solutions at Ford School of Public Policy ($25,000) (2017)
    (“Targeting Poverty in the Courts: Improving the Measurement of Ability to Pay”) (Co-PI:
    Meghan M. O’Neil)
 University of Michigan, Global Challenges for Third Century Initiative (Phase Two: $2,767,500)
    (2014) (“Technology-Aided Access to Courts through Enhanced Online Functionality”)
 University of Michigan, Office of the Vice President for Research ($15,000) (2013) (“A Survey of
    Employment Non-Competition Agreements: Incidence, Knowledge, Perceptions, and Mobility”)
 Distinguished Brief Award, Thomas M. Cooley Law Review (“recognizes the most scholarly brief
     filed before the Michigan Supreme Court, as determined by a panel of judges”) (2013) (People v.
     Cole, No. 143046, opinion filed May 25, 2012)
 University of Michigan, Global Challenges for Third Century Initiative (Phase One: $275,000) (2013)
    (“Technology-Aided Access to Courts through Enhanced Online Functionality”)




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 University of Michigan, Office of the Vice President for Research ($15,000) (2011) (“The Role of the
    Prosecutor in Criminal Justice Outcome Disparities”)
 Population Studies Center, University of Michigan ($4,000) (2011) (“The Effects of Sex Offender
    Laws on Teenage Sexual Health and on the Geography of Crime Commission”)
 National Fellow, Hoover Institution, Stanford University, Stanford, CA (2010–11)
 National Science Foundation, Law and Social Sciences Program ($145,000) (2010) (“Evaluating the
     Impact of Set-Aside Laws on Ex-Offender Recidivism and Socioeconomic Outcomes”) (Co-PI:
     Sonja Starr)
 University of Michigan, Office of the Vice President for Research ($15,000) (2009) (“Evaluating the
    Impact of Set-Aside Laws on Ex-Offender Recidivism and Socioeconomic Outcomes”)
 National Poverty Center, University of Michigan ($7,500) (2009) (“Evaluating the Impact of Set-
     Aside Laws on Ex-Offender Recidivism and Socioeconomic Outcomes”)
 ABA Section on Litigation, Litigation Research Fund ($12,000) (2008) (with Albert Yoon)
   (“Settlement and Trial? A Study of High-Low Agreements”)

                                  PROFESSIONAL ACTIVITIES

  Affiliations:          Co-Editor-in-Chief, American Law and Economics Review (2017–)
                         Fellow of the Society for Empirical Legal Studies (2019–)
                         Research Faculty Affiliate, Pop. Studies Center, Univ. of Michigan (2009–)
                         Affiliate, University of Chicago Crime Lab (2016–)
                         Faculty Affiliate, National Archive of Criminal Justice Data (2017–)
                         Senior Academic Affiliate, Edgeworth Economics, LLC (2012–)
                         Faculty Expert, Poverty Solutions, University of Michigan (2017–)
                         Research Associate, Ctr. for Research in Econometric Theory and
                             Applications (CRETA), National Taiwan University (2018–)
                         ICLE (Inst. of Continuing Legal Educ.) Tech. Advisory Board (2016–)
                         Associate Editor, International Review of Law and Economics (2012–18)
                         Board of Directors, American Law and Economics Association (2015–18)
                         Co-President, Society of Empirical Legal Studies (2018–19)
                         Board of Directors, Society of Empirical Legal Studies (2016–19)
                         Board of Directors, Innovations for Poverty Action (2010–18)
                         Working Group, Nat’l Task Force on Fines, Fees, and Bail (2016–18)
                         Member, MI Advisory Comm., US Commission on Civil Rights (2013–17)
                         Editorial Board, American Law and Economics Review (2014–17)
                         Member, State Bar of California (admitted in 2002)
                         Member, American Bar Association
                         Member, American Economic Association
                         Member, American Law and Economics Association

  Referee Service:       Journal of Legal Studies
                         Journal of Law and Economics
                         Journal of Law, Economics, and Organization
                         Journal of Empirical Legal Studies
                         American Law and Economics Review
                         International Review of Law and Economics


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                         Review of Law and Economics
                         Quarterly Journal of Economics
                         Review of Economics and Statistics
                         Journal of Labor Economics
                         American Economic Journal: Applied Economics
                         Journal of Public Economics
                         Economic Journal
                         Economic Inquiry
                         Law and Society Review
                         Law and Social Inquiry
                         Crime and Delinquency
                         Justice Quarterly

                             TESTIMONY AND EXPERT ACTIVITIES

 Commonwealth of Pennsylvania v. Torsilieri, Court of Common Pleas, Chester County, PA: expert
    report, Apr. 1, 2021.
 Constan v. City of Dearborn Heights et al., Wayne County Circuit Court, Michigan: expert report,
    Dec. 6, 2020.
 Legislative Testimony before Michigan Senate’s Judiciary and Public Safety Committee (Lansing,
    MI, via Zoom), on proposed Clean Slate (expungement) legislation, June 4, 2020.
 Legislative Testimony before Michigan House of Representatives’ Judiciary Committee (Lansing, MI,
    via Zoom), on proposed reforms to Michigan’s Sex Offender Registration and Notification Laws,
    May 27, 2020.
 NARSOL v. Joshua Stein, U.S. District Court for the Middle District of North Carolina: expert report,
    Feb. 27, 2020; deposition, July 10, 2020.
 John Does #1–5 v. Richard Swearingen, U.S. District Court for the Southern District of Florida: expert
    report, Feb. 24, 2020.
 John Does #1–7 v. Greg Abbott and Col. Steven McCraw, U.S. District Court for the Northern District
    of Texas, Dallas Division: expert report, May 25, 2018.
 United States v. David Keith Wills, U.S. District Court for the Southern District of Texas, Corpus
    Christi Division: expert declaration, Jan. 14, 2018; hearing testimony, Jan. 29, 2018.
 Lucinda J. Shuell v. Mobile Medical Response, Inc., American Arbitration Association, Case No. 01-
    16-0001-9155: expert report, Dec. 21, 2017.
 Southern Motors Chevrolet, Inc. v. General Motors, U.S. District Court for the Southern District of
    Georgia, Savannah Division: expert report, June 30, 2015.
 State of Georgia v. Beverly Hall, Superior Court of Fulton County for the State of Georgia: expert
     report, July 11, 2014.
 McGuire v. City of Montgomery, Alabama et al., U.S. District Court for the Middle District of
    Alabama: expert report, Sept. 13, 2013; deposition, Oct. 30, 2013; rebuttal expert report, Dec. 17,
    2013; trial testimony, Mar. 31, 2014, and Apr. 1, 2014.
 John Does #1–5 and Mary Doe v. Richard Snyder and Col. Kriste Etue, U.S. District Court for the
    Eastern District of Michigan: expert report, Mar. 16, 2012; deposition, Dec. 12, 2013




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                                    UNIVERSITY SERVICE

 University of Michigan: Digital Innovation Advisory Group (2014–16); Online Course Selection
        Committee (2013–14); UM Civil Liberties Board (2010–13).

 University of Michigan Law School: Founder and Organizer, Student Research Roundtable (2007–18);
        Tenure Review Committee (2021–); Personnel Committee (2019–21); Alumni Survey
        Director (2014–); Technology Committee (2010–20); Alumni Academic Placement
        Committee (2010–14; 2016–18); Institutional Advancement Committee (2009–11; 2012–13);
        Graduate Programs and Foreign Affiliations (2011–12); Academic Standards and Practices
        Committee (2009–10); Clinical Committee (2008–09); Student Careers and Professional
        Affairs Committee (2007–08); Curriculum Committee (2006–07).

                                    OTHER EMPLOYMENT

 Academic:          Visiting Lecturer, University of Tokyo Faculty of Law (Summer 2009)
                    Visiting Researcher, Georgetown University Law Center (2004–2006)
                    Special Guest, Brookings Institution, Economic Studies Program (2004–2005)
                    Fellow in Law and Economics, Univ. of Michigan Law School (Winter 2005)
                    Post-Graduate Olin Research Fellow, Harvard Law School (2003–2004)
                    Research Assistant, Brookings Institution, Economic Studies (1996–1997)

 Law Practice:      Summer Associate, Gibson, Dunn & Crutcher, LLP, New York, NY (2002)
                    Summer Associate, Munger, Tolles & Olson, LLP, Los Angeles, CA (2001)
                    Summer Associate, Morrison & Foerster, LLP, San Francisco, CA (2001)
                    Summer Associate, Gibson, Dunn & Crutcher, LLP, Los Angeles, CA (2000)

                                 SELECTED PRESENTATIONS

 2021:    Northwestern University IDEAL Workshop: Evaluation and Accountability: Technologies
          for Law (online) (April) (“Evaluating the Effects of Court-Technology Innovations”)
          Record Clearing Research Webinar (National Record Clearing Project) (Community Legal
          Services – Philadelphia) (online) (March) (“Expungement of Criminal Convictions: An
          Empirical Study”)
          Dispute Resolution Works-in-Progress Consortium (online) (March) (Discussant on Gilat
          Bachar, “The Psychology of Secret Settlements”)
          Stanford Law Legal Tech and the Future of Civil Justice Series (Panel: “Legal Tech, A2J,
          and the Unrepresented”) (online) (February) (“Using ODR Platforms to Level the Playing
          Field: Improving Pro Se Litigation Through Technology)
          Michigan Journal of Law Reform Symposium (“The Poverty Penalty: America’s Overuse of
          Fines and Fees) (online) (January) (Panelist: Civil and Criminal Fines and Fees)

 2020:    Duke Empirical Criminal Law Roundtable (online) (December) (Discussant on Ben
          Grunwald, “How to Reduce the Prison Population by X%”)
          Columbia Law School (Law and Economics Workshop) (online) (November) (“Subjective
          Beliefs about Contract Enforceability”)




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         Conference: National Legal Aid & Defender Association (online) (November) (Panelist:
         “Record Clearing in 2020: Challenges and Opportunities”)
         Conference: APPAM Annual Meetings (online) (November) (Discussant on Aria Golestani,
         Emily Owens, and Kerri Raissian, “Specialization in Criminal Courts: An Evaluation of the
         Impact of Domestic Violence Courts in Nashville and Davidson County, Tennessee”)
         Michigan Law Insights from the Quad (online) (November) (Panelist: “Criminal Justice
         Reform” with Eve Primus and Margo Schlanger)
         Harvard Law School (Empirical Law and Economics Workshop) (online) (October)
         (“Noncompetes and Employee Mobility”)
         Clean Slate Initiative Panel, National Expungement Week (online) (September) (Panelist)
         The 2020 University of Michigan Distinguished Innovator Award Address (Ann Arbor, MI)
         (September) (“Matterhorn: Technology, Access to Justice, and Democratizing American
         Courts”)

 2019:   Conference: The Choice Redux: Market, Organization, Democracy, Algorithm or
         Community? (Univ. of Michigan Ross School of Business) (Ann Arbor, MI) (December)
         (“Gigs & Regs: Platform Choices for Competitive & Fair Labor Markets”)
         Conference on Empirical Legal Studies (Claremont McKenna College) (Claremont, CA)
         (November) (“Expungement of Criminal Convictions: An Empirical Study”)
         Notre Dame Law Review Symposium (Notre Dame Law School) (South Bend, IN)
         (November) (“Understanding Violent-Crime Recidivism”)
         Detroit Police’s Committee on Race and Equality Meeting (Detroit Police Department)
         (Detroit MI) (October) (“Expungement in Michigan”)
         Columbia Law School (Courts Workshop) (New York, NY) (May) (“Is Judicial Bias
         Inevitable? Courts, Technology, and the Future of Impartiality”)
         Univ. of Michigan Law School’s 2019 Junior Scholars Conference (Ann Arbor, MI) (April)
         (Discussant on three papers in “Panel I: Observation and Documentation”)
         Univ. of Southern California Gould School of Law (Law and Economics Workshop) (Los
         Angeles, CA) (April) (“Expungement of Criminal Convictions: An Empirical Study”)
         Univ. of Michigan Institute for Research on Women & Gender (Ann Arbor, MI) (March)
         (Book Discussant on David Halperin and Trevor Hoppe, “The War on Sex”)
         Univ. of British Columbia Allard School of Law (Law and Economics Workshop)
         (Vancouver, BC) (March) (“Noncompetes and Employee Mobility”)
         Conference: The Choice: Market, Organization, Democracy, Algorithm or Community?
         (Univ. of Michigan Ross School of Business) (Ann Arbor, MI) (February) (“Law and ‘The
         Choice’”) (focus on analytics, prediction, and algorithms in the law)

 2018:   2018 eCourts Conference (National Center for State Courts) (Plenary Panel with Judge
         Alexis Krot and Elizabeth Lucas) (Las Vegas, NV) (December) (“‘Right-sizing’ Penalties
         Through Technology”)
         Notre Dame Law School (Law and Economics Workshop) (South Bend, IN) (November)
         (“Noncompetes and Employee Mobility”)




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         Symposium: Shining a Light on Dispute Resolution: Transparency, Metrics, and Empirical
         Research (Texas A&M Univ. School of Law) (Fort Worth, TX) (November) (“Court-
         Connected Mediation and Online Dispute Resolution”)
         NBER Law and Economics Meetings (Cambridge, MA) (July) (Discussant on Jian Jia and
         Liad Wagman, “Platform, Anonymity, and Illegal Actors: Evidence of Whac-a-Mole
         Enforcement from Airbnb”)
         Univ. of Bonn (Law and Economics Workshop) (Bonn, Germany) (May) (“Noncompetes
         and Employee Mobility”)
         Symposium: Alternatives to Incarceration (Univ. of Haifa, Faculty of Law) (Haifa, Israel)
         (May) (“Targeting Poverty in the Courts: Improving the Measurement of Ability to Pay
         Fines”)
         Univ. of Michigan Law School (Law and Economics Workshop) (Ann Arbor, MI) (March)
         (“Noncompetes in the U.S. Labor Force”)
         Stanford Law School (Law and Economics Workshop) (Palo Alto, CA) (February)
         (“Noncompetes in the U.S. Labor Force”)
         Supreme Court Economic Review Research Roundtable on the Economics of Legal Error
         (George Mason Univ. Antonin Scalia Law School) (Arlington, VA) (February) (Discussant
         on Gregory DeAngelo and Bryan C. McCannon, “Judicial Compensation and Performance”)
         Univ. of Virginia Batten School of Policy (Faculty Research Workshop) (Charlottesville,
         VA) (January) (“Noncompetes in the U.S. Labor Force”)

 2017:   Harvard Law School (Law and Economics Workshop) (Cambridge, MA) (November)
         (“Noncompetes and Employee Mobility”)
         Univ. of Toronto, Faculty of Law (Law and Economics Workshop) (Toronto, ON)
         (November) (“Noncompetes and Employee Mobility”)
         George Mason Univ. Antonin Scalia Law School (Manne Forum) (Arlington, VA)
         (September) (Senior Commentator on Megan Stevenson, “Assessing Risk Assessment”)
         Empirical Studies of Judicial Systems International Conference (Symposium: Do Courts
         Rule Efficiently? Empirical Inquiries) (Institutum Iurisprudentiae Academia Sinica) (Taipei,
         Taiwan) (June) (“Platform Procedure: Using Technology to Facilitate (Efficient) Civil
         Settlement”)
         Seminar on Empirical Methods for the Law (Journal of Institutional and Theoretical
         Economics, Max Planck Institute for Research on Collective Goods, Bonn, and the Univ. of
         Bonn, Germany) (Syracuse, Italy) (June) (“Assessing Access to Justice Outreach
         Strategies”)
         Duke Univ. School of Law (Culp Colloquium) (Durham, NC) (May) (Commentator on
         Andrea Chandrasekher, “Police Contract Status and Labor Unrest,” and Sherod Thaxton,
         “Disentangling Disparity: Exploring Racially Disparate Effect and Treatment in Capital
         Charging”)
         UC Irvine School of Law Civil Justice Research Institute (Symposium: Practitioners and
         Scholars in Dialogue: What Do We Know About the Civil Justice System?) (UC Irvine
         School of Law) (Irvine, CA) (April) (Panel: Innovative Practices)
         Vanderbilt Law Review Symposium on State Courts (Vanderbilt Law School) (Nashville,
         MI) (March) (“Improving Access to Justice in State Courts with Platform Technology”)




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         Michigan State Law Review Symposium (“Empirical Legal Studies and Legal Analytics:
         Shall the Twain Meet?”) (Michigan State Univ. College of Law) (East Lansing, MI)
         (March) (Panel: “ELS and Legal Analytics: Partners in the Same Pursuit or Never the Twain
         Shall Meet?”)
         Univ. of Michigan Complexity and the Law Conference (Ann Arbor, MI) (February)
         (“UM’s Online Court Project: Big Data, Analytics, and Research Opportunities”)
         Univ. of Arizona James E. Rogers College of Law QuantLaw Conference (Tucson, AZ)
         (February) (“Noncompetes and Employee Mobility”)

 2016:   Conference on Empirical Legal Studies (Duke Univ. School of Law) (Durham, NC)
         (November) (“Noncompetes and Employee Mobility”)
         National Task Force on Fines, Fees, and Bail Practices Business Meeting (National Center
         for State Courts) (Lunch Presentation) (Arlington, VA) (November) (“Online Case
         Resolution”)
         National Association for Justice Information Systems 2016 Conference (Tucson, AZ)
         (November) (“Online Case Resolution Systems: Enhancing Access, Fairness, Accuracy, and
         Efficiency”)
         Georgetown Univ. Law Center (Law and Economics Workshop) (Washington, DC)
         (October) (“Noncompetes and Employee Mobility”)
         George Mason Univ. Antonin Scalia Law School (Law and Economics Workshop)
         (Arlington, VA) (October) (“Noncompetes and Employee Mobility”)
         Justice Codes Symposium (John Jay College of Criminal Justice) (New York, NY)
         (October) (“Citizens and Online Court Access”)
         Columbia Law School (Law and Economics Workshop) (New York, NY) (September)
         (“Noncompetes and Employee Mobility”)
         Concordia Univ. School of Law (Criminal Justice Reform Conference) (Boise, ID) (June)
         (“Online Case Resolution Systems: Enhancing Access, Accuracy, and Fairness”)
         UC Irvine Department of Informatics (Friday Seminar Series) (Irvine, CA) (May) (“Online
         Case Resolution Systems: Enhancing Access, Fairness, Accuracy, and Efficiency”)
         Northwestern Univ. School of Law (Colloquium on Law and Economics) (Chicago, IL)
         (April) (“Noncompetes and Employee Mobility”)
         Univ. of Connecticut School of Law (Faculty Workshop) (Hartford, CT) (March) (“A
         Comprehensive Theory of Civil Settlement”)
         NYU Law School (Law and Economics Colloquium) (New York, NY) (March) (“A
         Comprehensive Theory of Civil Settlement”)
         UCLA Law School (Law and Economics Workshop) (Los Angeles, CA) (February) (“A
         Comprehensive Theory of Civil Settlement”)
         Michigan Journal of Race & Law Symposium (“Innocent Until Proven Poor”) (Univ. of
         Michigan Law School) (Ann Arbor, MI) (February) (“Online Case Resolution Systems:
         Enhancing Access, Accuracy, and Fairness”)

 2015:   Univ. of Texas School of Law (Law and Economics Workshop) (Austin, TX) (November)
         (“Noncompetes in the U.S. Labor Force”)




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         Connecticut Law Review Symposium (“The Other One Percent: Prison Reform from
         Sentencing to Parole”) (Univ. of Connecticut School of Law) (Hartford, CT) (November)
         (“Post-Release Regulations and Sex Offender Recidivism”)
         Conference on Empirical Legal Studies (Washington Univ. Law School) (St. Louis, MO)
         (October) (“Noncompetes in the U.S. Labor Force”)
         Conference on Empirical Legal Studies (Washington Univ. Law School) (St. Louis, MO)
         (October) (Discussant on Thomas H. Cohen, “Does Change in Risk Matter? Examining
         Whether Changes in Offender Risk Characteristics Influence Recidivism Outcomes”)
         Michigan State Law Review Symposium (“Legal Quanta”) (Michigan State Univ. College
         of Law) (East Lansing, MI) (October) (“Noncompetes in the U.S. Labor Force”)
         Univ. of Michigan School of Information (Information Alliance for Community
         Development (IACD) speaker series) (Ann Arbor, MI) (September) (“Michigan’s Online
         Court Project: Improving Access, Accuracy, and Fairness”)
         American Law and Economics Association Annual Meetings (Columbia Law School) (New
         York, NY) (May) (Discussant on Andrea Cann Chandrasekher, “The Effect of Police
         Slowdowns on Crime”)
         NBER Mid-Year Law and Economics Meetings (Cambridge, MA) (February) (“Tailored
         Suits: Contracting on Litigation”)
         Harvard Law School (Law and Economics Workshop) (Cambridge, MA) (February) (“A
         Comprehensive Theory of Civil Settlement”)

 2014:   Third Annual Robina Conference: The Future of Criminal Law? (Univ. of Minnesota Law
         School) (Minneapolis, MN) (“Policing Public Order without the Criminal Law”)
         Univ. of Virginia School of Law (Law and Economics Workshop) (Charlottesville, VA)
         (March) (“Neighborhood Offending: Is Sex Offense Victimization Risk Higher Where Sex
         Offenders Reside?”)

 2013:   Conference on Empirical Legal Studies (Univ. of Pennsylvania Law School) (Philadelphia,
         PA) (October) (“Neighborhood Offending: Do Sex Offenders Reside and Offend in the
         Same Places?”)
         Conference on Empirical Legal Studies (Univ. of Pennsylvania Law School) (Philadelphia,
         PA) (October) (Discussant on Kuo-Chang Huang, “The Effect of Stakes on Settlement: An
         Empirical Lesson from Taiwan”)
         Tel Aviv Faculty of Law (Law and Economics Workshop) (Tel Aviv, Israel) (May)
         (“Criminal Choice in Sentencing”)
         Cornell-Tel Aviv Conference: Empirical Legal Studies (Tel Aviv Faculty of Law ) (Tel
         Aviv, Israel) (May) (Discussant on Michael Frakes, “The Impact of Criminal Law on the
         Incidence of Crime: Evidence from Expansions in the Scope and Severity and Statutory
         Rape Laws”)
         Notre Dame Law School (Law and Economics Workshop) (South Bend, IN) (March)
         (“Criminal Choice in Sentencing”)

 2012:   NBER Law and Economics Meetings (Cambridge, MA) (July) (Discussant on Dara Lee,
         “The Digital Scarlet Letter: The Effect of Online Criminal Records on Crime and
         Recidivism”)


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         American Law and Economics Association Annual Meetings (Stanford Law School) (Palo
         Alto, CA) (May) (“Criminal Choice in Sentencing”)
         Univ. of Toledo College of Law (Faculty Workshop) (Toledo, OH) (March) (“Criminal
         Choice in Sentencing”)

 2011:   Conference on Empirical Legal Studies (Northwestern Univ. Law School) (Chicago, IL)
         (November) (Discussant on Jonah Gelbach, “The Effects of Heightened Pleading on Motion
         to Dismiss Adjudication”)
         Univ. of Chicago Law School (Law and Economics Workshop) (Chicago, IL) (November)
         (“Criminal Choice in Sentencing”)
         Columbia Law School (Law and Economics Workshop) (New York, NY) (October)
         (“Settlement and Trial? A Study of High-Low Agreements”)
         Stanford Law School (Faculty Workshop) (Palo Alto, CA) (March) (“Settlement and Trial?
         A Study of High-Low Agreements”)
         Cornell Law School (Empirical Colloquium) (Ithaca, NY) (March) (“Settlement and Trial?
         A Study of High-Low Agreements”)
         NBER Mid-Year Law and Economics Meetings (Cambridge, MA) (February) (Discussant
         on Howard Chang & Hilary Sigman, “An Empirical Analysis of Cost Recovery in
         Superfund Cases: Implications for Brownfields and Joint and Several Liability”)

 2010:   Conference on Empirical Legal Studies (Yale Law School) (New Haven, CT) (November)
         (“Settlement and Trial? A Study of High-Low Agreements”)
         Conference on Empirical Legal Studies (Yale Law School) (New Haven, CT) (November)
         (Discussant on Sasha Romanosky, Rahul Telang, and Alessandro Acquisti, “Do Data
         Breach Disclosure Laws Reduce Identity Theft?”)
         American Law and Economics Association Annual Meetings (Woodrow Wilson School of
         Public Policy) (Princeton, NJ) (May) (“Settlement and Trial? A Study of High-Low
         Agreements”)
         Univ. of Haifa Law School (Law and Economics Workshop) (Haifa, Isreal via Internet)
         (May) (“Settlement and Trial? A Study of High-Low Agreements”)
         Univ. of Virginia Law and Economics of Crime Conference (Charlottesville, VA) (March)
         (“Determinants of Success in Post-Conviction Litigation by the Innocent”)
         Rice Univ. and Univ. of Houston (Applied Economics Workshop) (Houston, TX) (March)
         (“Do Sex Offender Registration and Notification Laws Affect Criminal Behavior?”)
         American Economic Association Annual Meetings (Atlanta, GA) (January) (“Empirical
         Evidence of Prosecutorial Charging Manipulation” and Discussant on Richard Boylan and
         Naci Mocan, “Intended and Unintended Consequences of Prison Reform”)

 2009:   Harvard Law School (Law and Economics Workshop) (Cambridge, MA) (October)
         (“Settlement and Trial? A Study of High-Low Agreements”)
         Univ. of Michigan Population Studies Center (Brown Bag) (Ann Arbor, MI) (October) (“Do
         Sex Offender Registration and Notification Laws Affect Criminal Behavior?”)
         Univ. of Toronto Faculty of Law (Law and Economics Workshop) (Toronto, ON)
         (September) (“Settlement and Trial? A Study of High-Low Agreements”)


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         NBER Law and Economics Summer Institute (Cambridge, MA) (July) (“Settlement and
         Trial? A Study of High-Low Agreements”)
         UC Hastings College of Law (Faculty Workshop) (San Francisco, CA) (February) (“Do Sex
         Offender Registration and Notification Laws Affect Criminal Behavior?”)
         Stanford Law School (Law and Economics Workshop) (Palo Alto, CA) (January) (“Do Sex
         Offender Registration and Notification Laws Affect Criminal Behavior?”)
         American Economic Association Annual Meetings (San Francisco, CA) (January) (“Do Sex
         Offender Registration and Notification Laws Affect Criminal Behavior?” and “The Effects
         of Judge, Prosecutor, and Defendant Race and Gender Interactions on Defendant
         Outcomes”)

 2008:   American Bar Association Litigation Section Access to Justice Symposium (Atlanta, GA)
         (December) (“The Challenges of Calculating the Benefits of Providing Access to Legal
         Services”)
         Searle Center Research Symposium on Empirical Studies of Civil Liability (Northwestern
         Univ. Law School) (Chicago, IL) (October) (“Settlement and Trial? A Study of High-Low
         Agreements”)
         Conference on Empirical Legal Studies (Cornell Law School) (Ithaca, NY) (October) (“Do
         Sex Offender Registration and Notification Laws Affect Criminal Behavior?”)
         Conference on Empirical Legal Studies (Cornell Law School) (Ithaca, NY) (October)
         (Discussant on John F. Pfaff, “The Myths and Realities of Correctional Severity: Evidence
         from the National Corrections Reporting Program on Sentencing Practices”)
         Harvard Law School (Law and Economics Workshop) (Cambridge, MA) (September) (“Do
         Sex Offender Registration and Notification Laws Affect Criminal Behavior?”)
         Law and Society Annual Meetings (Montreal, Canada) (May) (“The Effects of Judge,
         Prosecutor, and Defendant Race and Gender Interactions on Defendant Outcomes”)
         American Law and Economics Association Annual Meetings (Columbia Law School) (New
         York, NY) (May) (“The Effects of Judge, Prosecutor, and Defendant Race and Gender
         Interactions on Defendant Outcomes”)
         Univ. of Chicago Law School (Criminal Law Colloquium) (Chicago, IL) (April) (“Do Sex
         Offender Registration and Notification Laws Affect Criminal Behavior?”)
         Brooklyn Law School (Faculty Workshop) (Brooklyn, NY) (April) (“Do Sex Offender
         Registration and Notification Laws Affect Criminal Behavior?”)
         Univ. of Haifa Law School (Law and Economics Workshop) (Haifa, Isreal via Internet)
         (March) (“Do Sex Offender Registration and Notification Laws Affect Criminal
         Behavior?”)
         Univ. of Virginia School of Law (Law and Economics Workshop) (Charlottesville, VA)
         (February) (“Do Sex Offender Registration and Notification Laws Affect Criminal
         Behavior?”)
         NBER Mid-Year Law and Economics Meetings (Cambridge, MA) (February) (Discussant
         on Betsey Stevenson, “Beyond the Classroom: Using Title IX to Measure the Return to
         High School Sports”)




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 2007:   Northwestern Univ. Law School (Law and Economics Colloquium) (Chicago, IL)
         (December) (“Do Sex Offender Registration and Notification Laws Affect Criminal
         Behavior?”)
         Conference on Empirical Legal Studies (NYU Law School) (November) (Discussant on
         Stéphane Mechoulan, “The External Effects of Black-Male Incarceration on Black
         Females”)
         NBER Working Group on Crime (Cambridge, MA) (September) (“Do Sex Offender
         Registration and Notification Laws Affect Criminal Behavior?”)
         National Federal Sentencing Guidelines Seminar (Salt Lake City, UT) (May) (“Using U.S.
         Sentencing Commission Data in Empirical Research”)
         American Law and Economics Association Annual Meetings (Harvard Law School)
         (Cambridge, MA) (May) (“The Effects of Sex Offender Notification laws”)

 2006:   Conference on Empirical Legal Studies (Univ. of Texas Law School) (Austin, TX)
         (October) (“Empirical Evidence of Prosecutorial Charging Manipulation”)
         Conference on Empirical Legal Studies (Univ. of Texas Law School) (Austin, TX)
         (Discussant on Brandon Garrett, “Judging Innocence”)
         Junior Empirical Legal Scholars Conference (Cornell Law School) (Ithaca, NY)
         (September) (“Empirical Evidence of Prosecutorial Charging Manipulation”)
         Law and Society Annual Meetings (Baltimore, MD) (July) (“Measuring the Consequences
         of Criminal Jury Trial Protections”)
         Various Job Talks (January and February) (“Measuring the Consequences of Criminal Jury
         Trial Protections”) (Michigan; Harvard; Stanford; NYU; Columbia; Univ. of Pennsylvania;
         UCLA; Georgetown; USC; Washington Univ.; Univ. of Texas)


 2005:   Various Job Talks (September through December) (“Measuring the Consequences of
         Criminal Jury Trial Protections”) (Yale; Univ. of Virginia; Duke; Cornell; Boston Univ.;
         Minnesota; Univ. of Colorado; William and Mary; Univ. of Miami)
         MIT Department of Economics Labor Seminar (Cambridge, MA) (November) (“Measuring
         the Consequences of Criminal Jury Trial Protections”)
         Florida State College of Law (Faculty Enrichment Series) (Tallahassee, FL) (June)
         (“Measuring the Consequences of Criminal Jury Trial Protections”)
         Brookings Institution, Economic Studies Program (Brown Bag Lunch Talk) (Washington,
         DC) (June) (“Measuring the Consequences of Criminal Jury Trial Protections”)
         American Law and Economics Association Meetings (NYU Law School) (May)
         (“Measuring the Consequences of Criminal Jury Trial Protections”)




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